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                                                                                                 ,rtlc
                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOS
                                       EASTERN DIVISION
                                                                                       ,**wii{ir
                                                                                            *5:
                                                          $
EDWIN GARCIA                                              $ Case No.: 1:19-cv-7870                             COURI
                Plaintffi                                 $
                                                          $ Judge Robert       M. Dow, Jr.
vs                                                        $
                                                          $ Magistrate Judge Jeffrey     T. Gilbert
NATIONSTAR MORTGAGE LLC                                   $
F/M and DBA MR. COOPER                                    $ COMPLAINT AND DEMAND JURY FOR
            Defendant.                                    $ JURY   TRIAL
                                                          $ 1. TCPA,47 U.S.C. 5227,
                                                          $ 2. Invasion of Privacy - Intrusion
                                                          $ Upon Seclusion
        FIRST AMENDED COMPLAINT FOR VIOLATIONS OF THE TELEPHONE
                CONSUMER PROTECTION ACT 47 U.S.C. $227 et seq.

                                                 JURISDICTION
1.   This Court has federal question subject matter jurisdiction over this action pursuant to 28
     U.S.C. $ 1331 with respect to Plaintiff s TCPA claims. Mims v. Arrow Financial Services,
     Inc., 132 S. Ct. 740 (2012).
2. All conditions      precedent to the bringing of this action have been performed.

                                                     PARTIES
3. The Plaintiff in this lawsuit is Edwin Garcia, a natural person, who resides              in Cook County,
     Illinois
4.   The Defendant in this lawsuit is Nationstar Mortgage LLC DIBIA Mr. Cooper a debt
     collection company with offices at 8950 Cypress Waters Blvd Coppell, TX 75019.
                                                       VENUE
5.   This Court has personal jurisdiction over Defendant and venue is appropriate in this district
     under 28 U.S.C. $ 1391(a) because Defendant does business in this district, made the calls

     that are subject of this lawsuit to Plaintiff in this district, and because a substantial portion     of
     the events giving rise to this cause of action occurred in this district.
6.    Venue is proper in the Northern District of Illinois Eastern Division.
                                                    STANDING
7. Defendant placed calls to Plaintiff s cell phone using an automated dialer without consent.

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8.    Defendant placed calls using a prerecorded voice to Plaintiff.
9.    Plaintiff has thus suffered an injury as a result of Defendant's invasion of privacy, giving rise
      to standing before this Court. Spokeo, Inc. v. Robins,136 S. Ct. 1540, 1544 (2016), quoting
      Lujan v. Defenders of Wildlife, 504 U.S. 555, 580 (1992) (Congress has the power to define
      injuries and articulate chains of causation that will give rise to a case or controversy where
      none existed before.); Bellwood v. Dwivedi,895 F. 2d 1521,1526-1527 (7th Cir.1990)

      ("Congress can create new substantive rights, such as a right to be free from

      misrepresentations, and if that is invaded the holder of the right can sue without running

      afoul of Article III, even if he incurs no other injury[.]").
                                                        INTRODUCTION
10. Count     I of Plaintiff        s Complaint is based upon the Telephone Consumer Protection                               Act
      ("TCPA"), 47 U.S.C. 5 227 . The TCPA is a federal statute that broadly regulates the use of
      automated telephone equipment. Among other things, the TCPA prohibits certain unsolicited

      calls, restricts the use of automatic dialers or prerecorded messages, and delegates

      rulemaking authority to the Federal Communications Commission ("FCC").
11.   Count II of Plaintiff s Complaint is based upon the Invasion of Privacy                                -    Intrusion upon
      Seclusion, as derived from $ 6528 of the Restatement (Second) of Torts. S 6528 prohibits an
      intentional intrusion, "physically or otherwise, upon the solitude or seclusion of another or
      his private affairs or concerns...that would be highly offensive to a reasonable person."

12. Count     III of Plaintiffls Complaint is based upon the TCPA's disallowance of artificial or
      prerecorded voice. Mr. Cooper DBA Nationstar Mortgage contacted Plaintiff using an

      artificial or prerecorded voice, in violation of 47 U.S.C. $ 227(b)(3).
                                                  FACTUAL ALLEGATIONS
13. On or about September 19,2017                  Mr. Cooper A.K.A. Nationstar Mortgage made the first of
      56 calls to       Plaintiff s wireless phone number 773-297-6519 from phone number (888)-811-
      5279 which was one of 4 different numbers that Mr. Cooper                            A.K.A Nationstar Mortgage
      used to place calls to         Plaintiff.
14. The numbers that             Mr. Cooper A.K.A Nationstar Mortgage used to place calls to Plaintiff
      were   (8   86)   3I   6-2432, (8 8 8)8 1 I -527 9, (87 7)   87 3 -l 49   l,   (87 7)7 83 -7 99   l,   (8   8   8)a8 0-2432   ;




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15.   Mr. Cooper A.K.A Nationstar Mortgage made at least 56 individual calls to Plaintiff             s

      wireless phone beginning September 19,2017 and continuing through December 14,2017
      using ATDS capable equipment.
16. The calls made to       Plaintiff s wireless phone were not for an emergency purpose and were
      made without consent to do so, express or otherwise, of the Plaintiff having been given.

17.   Mr. Cooper A.K.A Nationstar Mortgage called Plaintiff               s wireless phone number 773-297-

      6519, on the following dates and times from the following numbers:

      1)    September 19,2017 at 6:56 PM CST from 866-3 16-2432;
      2) September 20,2017 at 3:18 PM CST from 888-8ll-5279;
      3) September 21,2017 at 5:31 PM CST from 888-8ll-5279;
      4) September 23,2017 at2:47 PM CST from 888-811-5279:
      5) September 26,2017 at3:59 PM CST from 888-8ll-5279;
      6) September 27,2017 at3:44 PM CST from 888-8ll-5279;
      7) September 28,2017 at l:44 PM CST from 888-316-2432;
      8) September 29,2017 at3:29 PM CST from 888-811-5279;
      9) October 2.2017 at 4:10 PM CST from 888-8ll-5279;
      10) October 3. 2017 at 3:02 PM CST from 888-811-5279;

      1   1) October 5. 2017 at 5: 1 1   PM CST from 888-8 ll-5279:
      12) October    6.2017 at2:40 PM CST from 888-8ll-5279;
      13) October 9. 2017 at 3:56 PM CST from 888-8             ll-5279;
      14) October 10.2017 at 5:38 PM CST           from 866-316-2432;
      15) October    ll. 2017 at 3:54 PM CST from 888-8ll-5279
      16) October    12.2017 at3:02 PM CST from 888-8ll-5279;
      1   7) Octoberl3. 2017 at 6:53 PM CST        from 866-3 I 6-2432;
      18) OctoberlT    .2011 at 4:19 PM CST from 888-8ll-5279;
      19)Octoberl9.2017 atl:26 PM CST from 888-8ll-5279;
      20) Octoberl9.2017 at 5:07 PM CST from 866-316-2432;

      21)October20.2017 at 1:51 PM CST from 888-811-5279;
      22) October 2l . 2017 at 2:33 PM CST from 888-8 1l-5279;
      23) October 23. 2017 at     2:ll   PM CST from 888-811-5219;
      24) October 24.2011 at      l:19 PM CST from 888-8ll-5279;



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 25) October 26.2017 at 4:13 PM CST from             888-8ll-5279;
 26) October 21. 2017 at 3:20 PM CST from            888-8ll-5279;
 27) October 30. 2017 at 2:29 PM CST from 888-8               ll-5279;
 28) October 31.2017 at 4:31 PM CST from 866-3 16-2432;

 29) October 2.2017 at 4:10 PM CST from            888-8ll-5279;
 3   0) November 2, 20 17 at 2:3 4   PM CST from      88   8-8   1   | -527 9 ;

 31) November 3, 2017 at     1   1:00    AM CST from 888-811-5279;
 32) November 3, 2017 at     1   1:00    AM CST from 888-8ll-5279;
 33) November 3, 2017 at     1   I :00   AM CST from 888-8ll-5279;
 34) November 3, 2021 at 1 1:00 AM CST Test Message account alert to call 866-316-2432
       (we are a debt collector)

 35)November 4,2017 at2:28PM CST from 866-316-2432;
 36)November 8, 2017 at 4:39 PM CST from 888-811-5279;
 37)November 13, 2017 at 1:30 PM CST from 877-783-7991;
 38)November 13, 2017 at 1:30 PM CST Test Message Mr. Cooper account alert to call 866-
       316-2432 (Please call us)
39) NovemberlT      ,2017 at 2:35 PM CST from 888-81 1-5279;
40)November 18,2017 at2:30 PM CST from 888-8ll-5279
4 1)   November 21, 20 17 at 2:I 6 PM CST from          88   8-8 I I -527     9;

42) November 22,2017 at 1 :15 PM CST from 866-3 16-2432;

43)November24,2017 at 10:50 AM CST from 888-8ll-5279;
44) November 24,2017 at 10:50             AM CST   Test Message Mr. Cooper account alert to call

       866-316-2432 (Please call us)
45) December 5, 2017 at 10:50            AM CST from 888-8ll-5279
46) December 5, 2017 at 1:25 PM CST Test Message Mr. Cooper account alert to call 866-

       316-2432 (Please call us)
47) December 14,2017 at       l:27 PM CST Test Message Mr. Cooper account alert to call 866-
       316-2432 (Please call us, we are a debt collector)
48)February 21,2018 at 11:30 AM CST from 888-480-2432;
49) December 4,2017 Test Message from877-783-7491(we are a debt collector);




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    50)December 5, 2017 at 1:25 PM CST Test Message from877-783-7491to call 866-316-
       2432 (we are a debt collector);
    51)December 6, 2017 atl:27 PM CST Test Message from877-783-7491to call 866-316-
       2432 (we are a debt collector);

    52) November 3, 2017 at     1   1:00   AM CST   Test Message from 877-783-7491 to call 866-316-

       2432 (we are a debt collector)
    53)November 13, 2017 at 1:30 PM CST Test Message from877-783-7491to call 866-316-
       2432 (we are a debt collector);

    54) November   24,2017 at 10:50 AM CST Test Message from 877-783-7491 to call 866-316-
       2432 (we are a debt collector)
   55)November2,2017 at 1:30PMCSTTestMessage ftom877-783-7491tocall 866-316-
       2432 (we are a debt collector);
   56) On February 21,2018 the Plaintiff answered a call from 888-480-2334 it was the

       customer representative from Nationstar Mortgage DBA Mr. Cooper by the name             of
       Jessica that conversation lasted approx. 5 minutes which is supported by page 15 of the

       Sprint phone log at 11:28 am. That conversation was being recorded by Nationstar
       Mortgage and the Plaintiff will be requesting a copy of the transcript and the recording to
       show that the representative showed total disregard for the telephone consumer protection

       act, regarding the   Plaintifls lDo Not call list at the Mortgage servicing company.
18. On the several occasions when          Plaintiff would answer Defendant's calls no one would say
   anything and there would be only dead air.
19. On a number of occasions Defendant would leave a prerecorded voicemail message

   referencing an account number 0608275830.
20. Plaintiff at or near the time each of the calls was placed to his wireless phones by the
   Defendant made handwritten notes of all call details including but not limited to the date,
   time, whether he answered the call and what was said by the caller if anything, what he said
   or whether a voicemail message was left.
21. Upon information and good-faith belief, the telephone calls identified above were placed to
   Plaintiff s wireless phone number using an automatic telephone dialing system (ATDS)
   and/or used an artificial or prerecorded voice.




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22.Upon information and belief, Defendant placed the calls to the Plaintiff identified above
       voluntarily.
23. Upon information and belief, Defendant placed the calls to the Plaintiff identified above
       under its own free   will.
24.Upon information and belief, the Defendant had knowledge that it was using an automatic
       telephone dialing system to place each of the telephone calls identified above.

25. Upon information and belief, Defendant intended to use an automatic telephone dialing
       system to place each of the telephone calls identified above.

26.Upon information and belief, Defendant maintains business records that show all calls
       Defendant placed to Plaintiff s wireless telephone number.
27. At the times that all of the above identified calls were received on his wireless phone Plaintiff
       was the subscriber to the called number, was the sole person having custody of said phone

       and paid for the airtime for the called phone number.

28. On February 21,2018 the Plaintiff received as call from Mr. Cooper from phone number
       888-480-2432. When the Plaintiff answered the call a customer representative by the name
       of Jessica was on the line when the Plaintiff asked her to provide her ID, she refused to
       provide the Plaintiff with the requested information. The Plaintiff then informed Jessica that

       he was on the do not call list from previously revoking express consent to place calls to the

       plaintiff s call phone number 773-297-6519. She stated that Mr. Cooper aka Nationstar
       Mortgage can place any calls at any time to my cell phone any time they wish. I then
       informed customer representative Jessica that she was in violation of the Telephone
       Consumer Protection Act. She continued to state that she can call my cell phone any time she

       wants. Please (SEE EXHIBIT A) affidavit.
29.The Plaintiff sent the Defendant several communications regarding revoking the express
       consent to place phone calls to the      Plaintiff s cell phone. Please SEE EXHIBIT B and C).
30.    Plaintiff s claims herein are brought timely within the four-year statute of limitations under
       the TCPA.

3 1.   A. Plaintiff Did Not Give "Prior Express Consent" Under the TCPA
       The TCPA makes it unlawful for any party to make a non-emergency call, using an
       automatic telephone dialing system or artificial prerecorded voice, to any cellular telephone




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    number, unless the call in "made withthe prior express consent of the called party[.]" See 47
    u. s.c. 5 227 (b)(r)(Axiii).
 32. The calls received by Plaintiff were extremely irritating and disruptive           as he is a dispatcher

        for   a   trucking company, and he must remain focused on the orders at all times during
    working hours without distraction or intemrption. Plaintiff received the calls from Nationstar
    doing business as Mr. Cooper precisely during working hours, aggravating and disruptive at

                               numerous critical times when he was working.
                                                     COUNT       I
                       VIOLATIONS OF THE TCPA 47 U.S.C. 8 227(bXlXAXiii)
33. Plaintiffrepeats and re-alleges each and every allegation stated above.

34. Defendant's aforementioned conduct violated the TCPA, 47 U.S.C. 5 227 et. seq.

35. Defendant Mr. Cooper aka Nationstar committed over 56 separate violations of 47 U.S.C.

    $227(bX1XA) and Plaintiff is entitled to damages of $1500 per violation pursuant to 47
   u.s.c. $227(bx3)(B).
36. Defendant Mr. Cooper A.K.A. Nationstar has demonstrated willful or knowing non-
   compliance with47 U.S.C. $227(bX1XA) The last 55 calls are subject to treble damages
   pursuant to 47 U.S.C. 5227(b)(3) as they were intentional.

37. Defendant Mr. Cooper       AKA Nationstar      has demonstrated       willful or knowing non-
   compliance with 47 U.S.C. S227(bX1XA) by calling the Plaintiff s number, which is
   assigned to a cellular telephone service. The Plaintiff has never given           Mr. Cooper A.K.A
   Nationstar permission to call the Plaintiff s cell phone. Plaintiff is entitled to damages          of
   $1500 per violation pursuant to 47 U.S.C. $227(bX3XB).

                                                    COUNT       II
38. Plaintiff incorporates by reference all the above paragraphs of this Complaint as though            fully
   stated herein.

39. Restatement of the Law, Second, Torts, $ 652(b) defines intrusion upon seclusion as, "One

   who intentionally intrudes. . .upon the solitude or seclusion of another, or her private affairs
   or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would
   be highly offensive to a reasonable person".

40. Defendant violated Plaintiff s privacy. Defendant's violations include, but are not limited to,
   the following:



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                 a-   Defendant intentionally intruded, physically or otherwise, upon Plaintifls
                      solitude and seclusion by engaging in harassing phone calls in an attempt to
                      collect on an alleged debt despite numerous requests for Defendant to contact
                      Plaintiff in writing only.
                 b.   The number and frequency of the telephone calls to Plaintiff by Defendant
                      after several requests to be contacted in writing only constitute an intrusion on
                      Plaintiff s privacy and solitude.
                 c.   Defendant's conduct would be highly offensive to a reasonable person as
                      Plaintiff received calls that often-interrupted Plaintiff       s   work and daily
                      schedule.

                 d.   Defendant's acts, as described above, were done intentionally with the
                      purpose of coercing Plaintiff to pay the alleged debt.
41. As a result of Defendant's violations of Plaintiffls privacy, Defendant is liable to Plaintiff for
      actual damages.

                                                     COUNT       III
42. Plaintiff incorporates by reference paragraphs 1-41 above.
43. Mr. Cooper DBA Nationstar Mortgage contacted Plaintiff using an artificial or prerecorded
      voice, in violation of 47 U.S.C. $ 227(bX3).
44. EXHIBIT A Affidavit regarding customer service Representative Jessica.
45. EXHIBIT B correspondence revoking express consent to call Plaintiff.
46. EXHIBIT C correspondence revoking express consent to call Plaintiff.
47. EXHIBIT D correspondence regarding the unauthorized and illegal phone calls.
48. EXHIBIT E photocopies of the text messages to the Plaintiff s cell phone and calls.
49. EXHIBIT F call logs regarding the Defendants calls to the Plaintiff s cell phone entries
50.   EXHIBIT G the Plaintiff sprint phone incoming phone logs.


      WHEREFORE, Plaintiff prays for relief and judgment, as follows:
         a. Adjudging    that Mr. Cooper, A.K.A Nationstar Mortgage violated the TCPA 47
             U.S.C. 5227 et seq.




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    b.   Awarding Plaintiff statutory damages pursuant to 47 U.S.C. 5 227(b)(3)(B)(C) of
         $500 for the first call and $1500 for each call thereafter made to Plaintiff s wireless
         phone as knowing and/or willful violations;
    c. Awarding       Plaintiff any fees and costs incurred in this action;
    d. Awarding       Plaintiff any post-judgment interest        as may be        allowed under the law;
    e. Awarding       such other and further relief as the Court may deem just and proper.

    f.   Damages pursuant to 47 U.S.C . 5 227(b)(3)(B), for each and every call employing the

         use of an   artificial prerecorded voice.
    o
    b.   Treble damages pursuant to 47 U.S.C. 5 227(b)(3), as to each violation; and,
    h.   Actual damages pursuant to 47 U.S.C . 5 227(b)(3) and,
    i.   Actual and punitive damages resulting from the invasion of privacy;
   j. Punitive       damages to be determined at trial, for the sake of an example and punishing

         Defendant for their malicious conduct;
         Awarding Plaintiff any pre-judgment and post-judgement interest as may be allowed
         under the law; and

    L    Any other relief that this Honorable Court deems appropriate.




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                               DEMAND FOR TRIAL BY JURY
     Pursuantto Federal Rule of Civil Procedure 38, Plaintiff hereby demands atrial by jury of
all issues triable by jury.




                                                       Respectfully Submitted,




                                                       5179 Elmwood road
                                                       Oak Forest ,lL 6045;2
                                                       773-297-6519
                                                       Edwingarc ial 9 8 I @y aho    o.   com




                              Complaint for Violations of the TCPA Page 10 of   l0
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                             UNITED STATES DISTTUCT COURT
                      FOR TIIE NORTHERN DISTRICT OF ILLINOIS




                                          AFFIDAVIT
   STATE OF: ILLINOIS
   COUNTY OF: COOK
            BEFORE ME personally appeared Edwin Garcia, Plaintiff, who being by me first
   duly sworn and identified in accordance with Illinois law, deposes and says:
   1.   My name is Edwin Garcia Plaintiffi herein.
   2. I have read and understood the attached foregoing complaint filed herein, and each fact

   alleged therein is true and correct of my own personal knowledge.

   FURTHER THE AFFIANT SAYETH NAUGTT,
                                                         o:,            t;iE

                                                     ,:*l-c****    ",   "t^**'
                                                 Edwin Garcia, Affiant


                                         me this 27rH day of Novemb er 2019.



                                                         My commission expires:

                                                                  -OFFICIAL
                                                                               SEA['
                                                           SHERRY P HAHHISWILLIAMS
                                                            Notary Public, State of lllinois
                                                         My Commission Expires 1CIl\Al\\Za
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                 EXHIBIT A
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                                 TINITED STATES DISTRICT COURT
                            F'OR TIIE NOITTHERN DISTRTCT OF ILLINOIS



                                                  AF'F'IDAVIT


    STATE OF: ILLINOIS
    COI-INTY OF: COOK


               BEFORE ME personally appeared Edwin Garcia, Plaintiff, who being by me first
    duly sworn and identified in accordance with Illinois law, deposes and says:


     1.   My name is Edwin Garcia Plaintifl herern.
    2. On or about February 21,2018 at I 1:30 am I received a call from Nationstar Mortgage
    aka ltzlr. Cooper from phone number 888-480-2432, after speaking to the customer

    service agent named Jessica she refused to provide me her agent ID number when             I
    informed her that I previously revoked express consent to call me or enter my riumber
    into an automatic dialing machine. lShe stated to me that Nationstar can call me anytime
    and just because my name was on the do not call list does not matter. I then informed

    Jessica that she was        in violation of the telephone consumer protection act. She stated
    again that Nationstar can call me anytime they want to.

    FURTHER THE AFFIANT SAYETH NAUGHT.

                                                         trH-*"e-*
     SWORN TO and subscribed before me this February 21,2018.



                                                                    n./'lb + f e.'rD
                                                                My commission expires:


                  "OFFICIALSEAT
             NAI.ICY CRIfuIS.'OHNSON
            NOTARY PUBLIC, STATE OF ITLINOIS
              COMMISSION EXPIHES
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                 EXHIBIT B
                  Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 15 of 78 PageID #:208
'         I
                                                                    1334554032 Page:7 of24
     ,l       I




                    EI}WIN GARCIA
t1

                    5179 ELMWOOD RI)
                    oAK roREsT,IL       60452

                   NATIONSTAR
                   350 }TIGIILAND DR
                   LEWISYILLE, TX 7506?

                    Date: 06/14113

                   SENT VIA, CERTIFIED MAIL# lfiIz*gzAOOOO 81153513
                   RETURN RECEIPTS REQUESTED

                   Ref Account No 0608275330
                   AMOUNT; $185,174.0r

                   To Whom It May Concern:
                   Tlis teltq is being sert to-you in response to a notice sent to ue on MAy II,2013.
                                                                                                        Be
                   advised that pursuant to the F'air Debt Collections Praclices Act, 15 USC t6iZg
                                                                                                   Sec. B0g (b)
                   your claim is disputed andvalidation is requested.

                   I respectfully request that your office provide ue with   evidence that   I have lega! obligation
                   to pay this alleged debt

                   Please provida me with the following:

                          I. What the money you say I owe is for;
                          2. Erphin nnd show rne how you calculatrd whatyou say I owe;
                          3. Frovide me with copies of any p&perc that show I agried to pay what you say        I
                          owe;
                          4. Identify the original creditor;
                          5, Show me thatyou are liceused to colleet in my state;
                          6. Provide me with your license runnbers and Registered Agent;

                   f anr also requesting that no telephone contact be mnde by your ofrice to my home, cell
                   phoae, or to my place of employment If your office attempts telephone comrnunication
                   with me, includiug but not limited to computer generated calls and calls or correspordence
                   sent to or with any third parties, it will be considered harassment and I shall seek legal
                   remedy" All future communications with me MUST be done in writing and sent to tfie
                   address noted tn this letter by USPS,

                   Respectfully Submitted,


                   EdwinGarcia
                                     #*-        /L
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                                             1334554032 Page: 8 of24




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                 EXHIBIT C
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  N4W;EHWIffiC"              (ffi
  hildiggJ sl79 ELMWOOD ROAD OAK FOREST ,tL 604s2

      VIA Certified Mail# 7014 0510 00021745 1699



      IRVING TX75O63

      Atln: Mortgage loan accounting deparfment



  Dear Sir or Madam,

  lt4Ilg.ISTAR MqRJ$AGE is the servicer of our mortgage loan at the above address. We dispute the
  .

  amouiit that is owned aicording the Monthly Billing Statem-ent and
                                                                      1ggu.9-$!,1h.at you,sqnd uq ipfgrmation
            fees, costs, and escrow accounting on our loan. This is a Quitifiea wiitten Request, pursuant to
  $oy_the
  Real Estate Settlement and Procedures Act section (2605(e)).

  Specifically, we are requesting the itemization ofthe follorving:

          1.    a complete payment history that can be easily read and understood including, but not limited to,
               the dates and amounts of all the payments made on the loan to date;

          2.   a breakdown of the amount of claimed arears of delinquencies;

          3.   an explanation of what you mean by assignment, sale, or transfer. Which one is it? please include
               a copy of any all assignments, proof of sale, proof of transfer and to whom.

          4.    the payment dates, purpose of payment and recipient of all escrow items charged to our account
               since the loans inception.

          5.    a breakdown ofthe current escrow charges showing how it is to calculated and reasons for any
               increase within the lasl?4 months; and

          6.   a copy ofany annual esqow statements and notices ofshortage, deficiency or surplus, sent us
               within the life of the current loan.


  I.n   Order to avoid any misunderstanding, all cornmu.nication shall hencefo$h be on the record, i.e. in
  writing and duly served. Please serve all communications and process directly to the mailing address
  provided below.


  f am hereby requesting in writing that neither you, nor any agent on your behalf, call me at
  home or atwork. Do not call me at my home number, or at my place of employment. Please
  give this information to the appropriate parties within your company so they may comply.

  Thank you for taking to acknowledge and answer the request s required by Real Estate Settlement and
  Procedures Act section (2605(e)).


  Very truly yours,


  EDWTNGARCTA
                          %*/L
Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 19 of 78 PageID #:212
Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 20 of 78 PageID #:213




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                         Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 21 of 78 PageID #:214
I         USPS.com@ - USPS Trackingttvt                                                                                                                                                 Page 1 of2
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                                                                                                                                                           Customer Service
t               USPS Tracking'"                                                                                                                                                )
                                                                                                                                                           Have questions? We're here to help,



                                                                                                                                          ; d*,9          Get Easy Tracking Updates                )

                                                                                                                                          i 5&            Sisn upforMy USPS.




                     Tracking Num ber: 7014051 0000217451 699




                     Updated Delivery Day: Tuesday, June 10,2014


                 Product & Tracking lnformation                                                                                              Available Actions
                Postal Product:                                          Features:
                First-Class MaiF                                         Certified Mail*            Retum Receipt


                . olts a Tlire                                           STATUS OF TTEM                 LOCATION

                ' June 9, 2014, 11;38 am                                 Delivered                      tRVlNG, TX 75063



                         Your item was delivered at 1 1:38 am on June 9,2014 in lRVlNG, TX 75063.


                         June 9, 2014 ,        1   1:20 am               Anived at Unit                 lRVlNG, TX 75063

                         June 8, 2014 , 1 0:05 pm                        Departed USPS Facility         COPPELL, TX 75099

                         June 7, 2014 ,        1   1:43 pm               Anived at USPS Facility        COPPELL, TX 75099

                         June 6,2014,5:33 am                             Departed USPS Facility         BEDFORD PARK, IL 60499

                         June 5,2014,8:20 pm                             Anived at USPS Facility        BEDFORD PARK, IL 60499

                         June 5, 2014, 9:45 am                           Acceptance                     OAK FOREST, IL 60452




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                      Track Another Package                                                                                               Manage lncoming Packag ES
                      Tracking (or receipt) number                                                                                        Track all your packages trom a dashboard.
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                     HELPFUL LINKS                                         ON ABOUT.USPS.COM                  OTHER USPS SITES                           LEGAL INFORMATION
                     Contact Us                                            About USPS Hom€                    Business Customer Gateway                   Privacy Policy
                     Site lndex                                            Newsroom                           Postal lnspectors                          Terms of Use
                     FAQs                                                  USPS Service Updates               lnspector General                          FOIA
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Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 22 of 78 PageID #:215




                 EXHIBIT T)
 Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 23 of 78 PageID #:216




March 1,2018

Edwin Garcia
5179 Elmwood Rd
Oak Forest,IL 60452                                                                  :   r,rfl
                                                                                           .l
                                                                                         r,{
MR COOPER AKA NATIONSTAR MORTGAGE                                                        l;,!"'3



PO BOX 619098
DALLAS, TX7526t-9741

REF:    Account Number 0608275830
        From Mr. Cooper
Sent via Certified Mail No. 7017 1450 0000 7250 0092

Dear SirAvladam,

This letter is not a refusal to pay, but a notice sent pursuant to the Fair Debt Collection Practices
Act, 15 U.S.C. 1692 et. seq., and the Fair Credit Reporting Act, 15 U.S.C. 1681 et. seq. that
your claim is disputed and validation is requested.

This is not a request for "verification" or proof of my mailing address or any other personal
identifiers, but a request for VALIDATION made pursuant to the above named Titles and
Sections. I respectfully request that your offices provide me with competent evidence that I have
any legai obligation to pay you.

Please provide me   with the following:
    o   What the money you say I owe is for.
    .   Explain and show me how you specifically calculated the entire amount of what you say           I
        owe.
   .    Provide me with copies of any and all "account level documents" that show I agreed to
        pay what you say I owe to include original signatures.
   o    Identify the ORIGINAL creditor.

        If you purchased this alleged account, identi$, the SELLER you purchased it from and
        ALL PREVIOUS OWNERS.
        Provide me with a copy of any judgement you say gives you the right to collect anything
        fromme.
        Provide me with ANY documentation which establishes your legal standing to collect
        anything from me.
        On February 20,2018 your company generated a mortgage loan statement which I
        received on or about February 26,2018. After carefully reviewing the account over view
        I noticed that there is a negative escrow balance of $ 1 ,1 5 1 .64. Aftelr contacting the cook
        county assessor's office, my taxes were reduced and have not increased in several years. I
        also contacted my insurance company and I was informed by the representative that my
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        insurance did not increase. Now I am requesting a complete and accurate audit of the
        escrow account to determine where is the negative escrow coming from.
    .   I am also requesting that your company provide me where the three trial periods were
        applied which total $4,500 for three trial period paymenls prior to receiving a permanent
        loan modification that I received in September.
    o   I am also informing you that I received a call on February 21,2018 from a representative
        naned Jessica in which she refused to provide me her ID or her last name the call was
        placed from 888-480-2432. I informed your representative that I was on a do not call list
        and she informed me that Mr Cooper can call anyone they want even if I am on a do not
        call list. In fact she made it clear to me that the TCPA did not apply because that was not
        a solicitation call. I then informed her that she was completely wrong, she also stated that
        she was calling me looking for a mortgage payment that your company received on
        February 18, 2018 but did not post the payment until February 22,2018 as reflecting on
        my checking account -Please see exhibit A.
    c   I would also like to inform your company placed my number on the automatic dialer
        withoutmyconsentforatotal of 4Tillegd,phonecallsfromseptember lg,2017 through
        December 14,2077 in which I will pursue litigation for violation of the TCPA as your
        company is aware that all communication must be in writing.
    e   On October 25,2017,I received another annual escrow account disclosure please see
        Exhibit B, in where your company stated that there was an escrow shortage of $2,043.88
        you then increased my mortgage payment effective December 1,2017 for a new payment
        of $1,330.21. As I see tJrat you are trying to increase my escrow negative approximately
        $3,000.00, now I am requesting a complete audit on the escrow and requesting a
        complete and concise explanation where the negative escrow is coming from. If this
        matter is not resolved I will seek legal action for escrow fraud and TILA violations.
    c   I am also requesting that you report to the credit bureaus that this account is in dispute as
        required by the fair credit reporting act. Your company is reporting inaccurate
        information to the credit bureaus and I will take legal action against yow company for
        violation of the Fair Credit Reporting Act.

If your offices are able to provide the proper documentation      as requested,I will require at least
30 days a.fter   receipt to investigate this infonnation and during such time all collection activity
must cease

If your offices fail to respond to this validation request within 30 days from the date of your
receipt, all references to this account must be deleted and completely removed from my credit
files with the credit reporting agencies and a copy of such deletion request shall be sent to me
immediately. Until proper validation is provided you are to cease all collection efforts.

I would also like to request, in writing, that no telephone contact be made by your offices to me,
my home orto my place of employment. If your offices attempt telephone communicationwith
me, including but not limited to computer generated calls and calls or correspondence sent to or
with any third parties, it will be considered harassment. All future communication with me
MUST be done in writing and sent to the address noted in this letter by USPS.
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It would be advisable that you assure that your records are in order before I am forced to take
legal action. This is an attempt to correct your records; ay information obtained shall be used for
that purpose.



Respectfrrlly,




Edwinc*,i^€y' -             /b
Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 26 of 78 PageID #:219
                    Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 27 of 78 PageID #:220


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5lT9ELMWOODROAD                                                                                                                   FROPERTYADDRESS

oAK FOnESI IL 60452                                                                                                               Sr.T9ElmwoodSt
                                                                                                                                  OakForest, IL 60452



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Re: Mr. CooperBefereneeNurnber:                                 LB-03-18-30273
                                                                                                                                                                            zz
                                                                                                                                                                             (.)
       PropertyAddress:                                         5179 Elmwood St                                                                                            O)
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                                                                OalFores! IL 60452                                                                                         o
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                                                                                                                                                                           N
       AccountName(s):                                          llOWIn Uarcla


DearEdwin Garcia;

Mr. Cooper received your correspondence dated March             1, 2018,   regarding concerns r,vith the above referencecl account

Thank you for bringing this matter to ou]. attention-. We take all matters seriorrsly
                                                                           seri<            ancl.   are in the process of reviewi:rg5,691,sorlccrns.

Our goal is to provide a response no laterthanApril 16, 2018.

Mr, Cooper is focusecl on customer satisfaction arrd appreciates the opportunity to review and respond to customer conceros. Should yo1r
have any questions or need anyfurther information regarclingthis issue please contact us.

Sincerely,

CustomerRelations
Mr. Cooper
POBOX6T-9098
DAII,AS, TX7526Lg74I
phone: 8?7-783-7480
fax 972-315-8637
e-mail: customerrelations @mrcooper.com




Mr. Cooper is a brand name for Nationstar Mortgage LLC. Nationstar Mortgage LLC is doing business as Nationstar Mortgage          LLC   cllb/a   ,r. &
Cooper. Mr. cooper is a service mark of Nationstar Mortgage LLC. All rights     reservecl.                                                           ffifl
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Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 28 of 78 PageID #:221




                 EXHIBIT E
Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 29 of 78 PageID #:222
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Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 33 of 78 PageID #:226
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                E,XHIBIT F
               Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 36 of 78 PageID #:229




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                   Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 37 of 78 PageID #:230




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Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 38 of 78 PageID #:231




                 EXHIBIT G
             Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 39 of 78 PageID #:232


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                                                                                    (2   from yourSprint Phone)          Bill Period: Sep 03 - Oct 02,2017

Sprinf


  tast Bill                                                I   Ir!s Htll                                            Total Anrount Due

  Previous Total Due                          $89.92      Account Charges                          $18.84

  Payments - Thankyou!                      -$25s.07      Plans & Equipment                       $144.67

 lmmediale Charges                           $149.94      Sprint Surcharges                        $10.17
 Accrued                                                                                                            I-et's talk
                                                          Govemment Taxes & Fees                    $5.75           aboLlt       this bill
  Balance Foruvard                         -$15.21
                                                          Total Charges this Bill                                   You made changes to your account this
                                                                                                $.t79.43            month that can irnpact your bill total. Here's
                                                                                                                    what happened:

                                                                                                                    '   You have added a promotion that has the
                                                                                                                        iPhoneT 2 for 1 Promotion that started on
                                                                                                                        Sep 07, 20i 7 for the next '18 months.




                                                                                                                           Last three months (new charges)
Ei                           't                                      ffi
     Pay online                   n P.y by Phone                           PaybyMail
     spnnlcom/myspnnt               1   -800-784-2608
                                   {"3 from your Sprint Phone)
                                                                           Beturn the form below with
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                                                                                                                  W W
Please see theJrlews and Notices section on page 2 for important information and changes to Sprint's
policies.                                                                                                                Auo                      S   eo               This month




     P0 Box 629023 El Dorado Hills, CA 95762                                                                   Detach and return this remittance form rrrrith your payment
                                                               EIT*EI                                   Make check payable to Sprint in U.S. dollars. D0 NOT SEND CASH.
                                                               ffi#{                                                                         Account Number 1 52127837

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            Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 40 of 78 PageID #:233


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                                                                                        Account Numb er:. 1 52127 837
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Call Detai{s - {773}   B7Sitg     - Vaice   .-.afiinued

On At                    ToIFrom               Destination     Rate     Mins     Cost
         05:44Fr ernj971442s                   Incoming        AU       18:00
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                 arn                           EoCHESTER,IN    AU       01:00
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         07:30 arn       (s74) 835-s4e1        ROCHESTER,IN    AU       02:00
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         07:47 an        (23)556-3013 CHICAGO,IL     AU                 0'l o0
         07:49 am     (708) 921-8255 SUMMIT,IL       AU                 07:00
         07:55 am     f/08) 921-8255 lncoming        AU                 03:00
         08:03 am            746-0343 CHICAGO,IL     AU                 01:00
         08:03 am .(708) 381-8063 OAK FOR SO,IL      AU                 0l:00
         0823 am             746-0343 CHICAGO,|L     AU                 01:00
         0830 am      (708) 381€063 OAK FOR SO,IL    AU                 01:00
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         08:36 am     (773) 556-s018 CHICAGO,IL      AU                 01:00
         08:37 am     (773) 746-0343 CHICAGO,IL      AU                 05:00
         0917 am      (773) 317-8385 CHICAGO,IL      AU                 02:00
         101 9 am     {773) 302-1716 CHICAGO,IL      AU                 01:00
         '10:21 am
                      {708) 668-2937 CHICAGOHTS;IL . AU                 02:C0
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         10:36 am     (773)302-1716 lncoming         AU                 03:00
         10:42 am     (312) 731-9082 CHICAGO,IL      AU                 01:00
         11:02am (708) 600-3525 lncoming             AU                 0l:00
         11:27 am     (s74) 835-9491 ROCHESTER,IN AU                    03:00
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         11:51 am      (773) 494-6585 CHICAGO,IL     AU                 07:00
          12:12pm VOg) 574-4197 LA GMNGE,IL          AU                 02:00
          12:22pm (708) 986-5301 lncoming            AU                 02:00
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          04:36 pm       789.8416 ATLANTANE,GA                                                             Rate Type
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          04:56 pm (773) 746-0343 CHICAGO,IL                   AII      01:00                              CW CatlWaiting

 Call Details - (773) 297-6519 - Voice continues
                Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 41 of 78 PageID #:234


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Sprint
                                                                                        Account Number: 1 52127837
                                                                                        Bill Period: Sep 03 - Oct02,2017




iqtl   Details - (773) 297-6519 - Voice ...continued

On         At            To / Frorn          Destination     Rate     llllins    Cost
           01:05  pm     (708)   369-7820    lncoming        AU       01:00
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           02:07pm       (312)774-4912       lncoming        AU       02:00
           02:14pm       (574)8i35-9491      ROCHESTER,IN    AU       01:00
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           0234 pm       (773)302-1716       CHICAGO,IL      AU       01:00
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       11:07am (708) 600-3525 lncoming                       NW/AU    03:00
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       01 :23 pm (708) 600-3s2s LA GHANGE,IL                 Nw/AU    03:00
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       02:25 pm  (708) 574-6532 LA GRANGE,IL
       0228pm (7oB) 574-41s7 LA GMNGE,IL
       02:29 pm i708) 574-6s32 LA GHANGE,IL                  NW/AU    01:00
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       02:37 pn  (23) 494-6585 GHICAGO,IL                    NW/AU
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           02'.44pm      (e88) 81   1-5279   lncomins        NWCWAU   01:00
           02:45 pm (773)746-0343 Incoming            NWAU            02:00

       =lL 02:47 p(n .^ (888) 811-5279 Toll Free Call NWAU            03:00
       q 02:50 pm (708) 689-7419 FOREST,IL NWAU                       02:00
           0316 pm      (773) .€4-65e5 CHICAGO,IL     NW/AU           02:00
           03:17 pm     (708) 574-6532 LAGRANGE,IL    NWAU            01:00
           03:18 pm     (773)302-1716 CHICAGO,IL      NW/AU           01:00
           03:25 pm     (708) 600-3525 lncoming       NW/AU           01 :00
           03:46 pm     (708) 689-7419 FOREST,IL      NWAU            01:00
           03:48 pm     (773) 302-1716 lncoming       NW/AU           02:00
           0348 pm      (708) 689-7419 lncoming       NW/CW/AU        02:00
           03:50 pm     (773)302-1716 CHICAGO,IL      NW/AU           03:00
           04:02 pm (773) 302-6s19 CHICAGo,IL         NW/AU           08:00
            04:53 pm     (77s)302-1716       CHICAGO,IL      Nw/AU    0i:00
            04:sB   pm   (773)746-as43       CHICAGO,IL      NW/AU    02:00
            05:57 pm     (77s)3o2-1716       CHICAGO,IL      NW/;\U   01:00
                  pm (574) 835-9491                                                                        Hate Type
            06:43                            ROCHESTER,IN    NW/AU    08:00
            06:52 pm
                                                                                                           AU   Anytime/Plan Usage
                     tI73)746-0343           CHICAGO,IL      NWAU     03:00
            06:55 pm fi73) 302-1716          CHICAGO,IL      NWAU     01:00
                                                                                                           CW CallWaiting
            06:56 pm (773) 302J716           Incoming        NW/AU    04:00                                ltllrV Night and Weekends


 Cail Details - (773) 297-6519 - Voice continues...
                Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 42 of 78 PageID #:235


'w                                                                                      421 of25
                                                                                        Account Number: 1 52'l 27 837
                                                                                        Bill Period: Sep 03 - Oct 02, 2017


Sprinf
Aail Details - (773) 297-6519 - Voice ...corttinued

         At                To / From         Destination       Hate    Mins      0ost
         01:24  pm         (773) 7664559     CHICAGO,IL        AU      02:0O
         0l r42 pm         (708) 897-8160    lncoming          AU      02:00
         01i44 pm          (708) 465-0578    OAK FOR SO,IL     AU      01:00
         01:48.pm          (312) 599-8514    lncoming          AU      03:00
             pm
         02:09             (773) 746-0343    CHICAGO,IL        AU      03:00
         02l22pm           (t73)7464343      CHICAGO,IL        AU      01:00
         02:23    pm       (773) 302-1716    CHICAGO,IL        AU      10:00
         02:42prn          (773) 302-1716    CHICAGO,IL        AU      0l:00
         02:48    prir     U7q 402-1716      CHICAGO,IL        AU      01:00
         02:48 pm          (773)746-0343     CHICAGO,IL        AU      01:00
         02:49 pm          (773)746-0343     lncoming          AU      02:00
         02:49 pm          073)  302-1716    Incoming          CW/AU   0t:0O
         02:s4 pm          F73)302-1716      CHICAGO,IL        AU      20:00
         02:58 pm          {312) 684-1990    lncoming          CWAU    02:00
         0313 pm           (708) 465-0578    lncoming          CW/AU   02:00
         03:18 pm          (773j5A2-1716     CHICAGO,IL        AU      09:00
         03:28 pm          {773)7464343      CHICAGO,IL        AU      01:00
         03:43pm, (773)598-2356              lncoming          AU      01:00
         03:51 prn (773) 746-0343            CHICAGO,IL        AU      01:00
         04:02 pm  {773)7464343              CHICAGO,IL        AU      02:00
         04:34 pm      -   (773)746-A343     lncoming          AU      01r00
         05:01  pm (7n)342-1716 CHICAGO,IL                     AU      18:00
         0518 pm (708) 495-0281 lncoming                       CWAU    06:00
         05:25 pm  (773) 302-1716 CHICAGO,IL                   AU      04i00
         05:38 pm (708) 66e-2937 Incoming                      AU      01:00
         05:43 pm  C/73) 256-8956 lncoming                     AU      01:00
         0725 pm (708) 600€525 lncoming                        AU      05:00
         l1 :18 pm (708) 574-6532 LA GRANGE,IL                 NW/AU   01:00
            :18 pm
          1 1      (708) 574-6532 LA GRANGE,IL                 NWAU    01:00
Sep 26   06:56 am  (574) 835€491 ROCHESTER,IN                  NWiAU   03:00
         08:13 am  (773)746-0343 CHICAGO,IL                    AU
          09:35_am (773)746-0343             CHICAGO,IL        AU      12:00
          09:45 am O73\294-49OA              lncoming          Cw/AU   01:00
          09:47 am         O73)  2944903     CHICAGO,IL        AU      06:00
          09:53 am         (773) 302-1716    CHICAGO,IL        AU      06:00
          10:08 am         (773) 302-1716    CHICAGO,IL        AU      01:00
          10:15       am    17731.7464343


          11:04  am ?7q-AO2-1716 CHICAGO,IL                    AU      08:00
          11     am (708) 465-0578 OAK FOR SO,IL
                :16                                            AU
          11:55 am  \77q74e$43      CHICAGO,IL                 AU      01:00
          12:04 pm  (708) 595-5527 LA GBANGE,IL                AU      06:00
          12:32pm (574) 835-9491    ROCHESTEFI,IN              AU      02:00
          1245 pm    1315)857-4774  lncoming                   AU      04:00
          12:49 pm  (773)302-1716   CHICAGO,IL                 AU      01:00
          12:50 pm  (708) 465-0578  OAK FOR SO,IL              AU      01 :00
          12:56 pm  (708) 465-0578  OAK FOR SO.IL              AU      01:00
          01:tl pm (708) 465-0578   lncoming                   AU      01:00
          01:36 pm   (708) 203-2820 LAGMNGE,IL                 AU      03:00
          01 :48 pm  (708) 574-4197 LA GRANGE,IL               AU       02:00
                                                                                                             ffiate   type
          01:50 pm   (708) 600-3525 LAGRANGE,IL                AU       04:00
                 pm         (813) 970-6642
                                                                                                            AU    AnyiimelPlan Usage
           03:41                              TAMPAFL          AU       11 :00

           03:47 pm         (212) 720-s003
                                                                                                            CW    Call Waiting
                                              lncoming         CWAU     01:00
           04:02 pir        (8e8) 811-5279    Toll Free Call   AU       01:00                                NW Nightand     Weekends



 Call Details - (773) 297-6519 - Voice continues...
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                                                                                                      Account Numb eri 1 521 27 837
                                                                                                      Bill Period: Sep 03 - Oct 02,2017




call Details - (773) 297-6519 - voice ...cantinued

On At                        To /      From        Destinalion         Rale   Mins             Cost
           05:30       pm    (708)     574-4197    LA   GBANGE,|L AU          01:00




                                                                              I0:00
           08:53 am                    600.3525.   IAGHANGE,iL                06:00
           09:07am. (/79)875-35s4.                 JOL|ET,IL                  01:00
           09:19       am    fl73)     957-5107    CHICAGO,|L          AU
           09:27       am    (708\776-325?         FOREST,|L AU               01:00


           f o,OO            0O
                 "m
           10:45 am
           iO:+e arn
                   {ZZg) Zae-og+e CFttCROO,il_
           10:49am V73)746-0343 lncoming                         ffi
           'I      am (312) 435-7613 CHICAGO,|L
                1:08                                                   AU
           1 I :08 arn (773) 297-9527 lncoming                                01:00
           'l.1:14am ?73)746-0343 CH|CAGO,IL                           AU     01:00
           11,1
           1125        am 595-5527 LA GFANGE,IL .
                             (708)                                     AU     01:00
           1126am         746-0343 Incoming
           1 :42 am
                1   (773) 302-1716 CHICAGO,IL                                 01:00
           12:04 pm (708) 595-5527 lncoming                            AU     01:00
           12:10


           l2:37       pm  970-6642 lncoming
                             (813)             CWAU
                           970-6642 TAMPA,FL
                                  3)           AU                             03:00
           01:1 1 pm (773) 746-0s43 CHICAGO,TL AU                             03:00
           or:r +      p,m   diC
           0235        pm    (708)     527-6530 lncoming      AU              10:00
           03:19       pm    (708)     532-4440 T|NLEYPARK,IL AU              02:00

  il*F
                                                              AU              01:00
  a\
                                                                       AU     08:00
           04:12       pm    (708)     532-4440 TINLEYPARK,IL          AU


                             (708)     574-6532    LA GMNGE,IL
                                                                       AU     01:00
           07:39 pt.Jil73l 302-171 6 tncoming                          AU     01 :00
           07:45 pm (773) 746-0343 lncoming
               pm {7a*:y277-3Ur" SUMM|T,|L
           08:29
Sep   28       am (773) 302-1716 CHICAGO,|L
           08:05                                                       AU     01:00
           08:08am (773)766-4559 CH|CAGO,IL                            AU     05:00    '          -
           98Jl        am
                                                   CHICAGO,IL
                                                                                           -
           09:08 am          (708) 600-3525                                   15:00
           09:46 am          (773) 957-5107        CI{ICAGO,IL                01:00
           0937 am                     600-3525    LA GRANGE,IL               01:00
           10:35am           (773) 569-49S9
                                       302-1716    CH|CAGO,iL
           12:42 pm          {708)     277-3829    SUtulMtT,tL                02:00
           12:43 pm          (708)     527€5s0     HABVEY,|L                  01:00
           12:51  pm (773)507-5301                 lncoming                   02:00
           12:56 pm  (708\ 277-3829                lncoming                   01:00
                                                                                                                         HateType
           '12:56 pm (708) 491-0222                                                                                      AU   Anytime/Plan Usage
                                                   lncoming                   01:00
           0l:20 pm Qlq 491-0222                   LA   GBANGE,IL      AU     0l :00                                     CW   Call Waiting


call Details - (773) 297-6519 - Voice continues...
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                                                                                           423 of 25
                                                                                           Account Numb efi 1 521 27 83'l
                                                                                           Bill Period: Sep Og - Oct 02, 2017

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Cat   Oetaits - 1lZS1 297-6519     - Voice ...continued

On At                     To / From            Destination     Rate        Mins     Oost
           02:29   pm{ng) 302-1716             lncoming        AU          01:00
           02:34 pm  (708) 510-0564            lncoming        AU          02:00
           0323 pm : (773) 302€519             lncoming        AU          05:00
           03:55!rn fi73) 25&8956              lncoming        AU          01:00
           04:03    pm    {708) 491-0222   .   LA GRANGE,IL    AU          01 :00
           0415  pm (/08) 595-5527             lncoming        AU          01:00
           0s:28 pm Ci08) 203-2820             LA GMNGE,IL     AU          02:00
           06:31 pm (813) 970{642              lncoming        AU          01:00
           06:32 pm (708) 451-0222             LA   GMNGE,IL   AU          05:00
           06:52pm eO2)847-5032                tncoming        AU          02:00
           07:56 pm       (708)277-€829        lncoming        AU          02:00
Sep   29   08:23 am (708) 600-3525 lnComing         AU                     03:00
           10:30 am   (708) 369-4525 lncoming       AU                     03:00
           10:34 am   (407) 947-9400 ORLANDO,FL     AU                     04:00
           10:46 am   (312) 217-8769 lncoming       AU                     0l:00
           10:53 am  '(773) 256€956 lncoming        AU                     01:00
           10:55am (708)S21-8255 lncoming           AU                     04:00
           12:04 pin  (773)302-1716 CHICAGO,TL      AU                     10:00
           1226pm     (866) 550-5705 Toll Freb Call AU                     l4:00
           1243pm (708)878-1633 LAGRANGE,IL         AU                     03:00
           0121 pm O73) 302-1716 CHICAGO,IL         AU                     01:00
           01:45 pm   073) 302-1716 lncoming        AU                     32:00
           02:17 pm          789.8416 ATLANTANE,GA AU                      03:00
           02:36 pm    (773)7464343 CHICAGO,IL      AU                     05:00
           02:38 pm    (708) 822-4157 Incoming      CWAU                   03:00
           03J5 pm     1708)822-4157 Incoming       AU
           03:29 pm    (888) 81 1-5279 lncom;no     Au                 '   01 'oo

           03:36pm (708)595-5527 lncoming           AU                     0t:00
           0430 pm     (773)7464343 CHICAGO,IL      AU                     01:00
           O4:32 pm    (312) 778-9688 CHICAGO,IL    AU                     02:00
           04:35 pm    (708) 600-3525 lncoming      AU                     06:00
           04:44    prn   (77s)302-1716        CHICAGO,IL      AU          01:00
           04:46 pm       (773)   302-1716     lncoming        AU          01:00
           0s:13 pm       (173)746-0343        CHICAGO,IL      AU          01:00
           06:04 pm       (773) 302-1716 lncoming      AU                  01:00
           06:05 pm       (708) 668-2937 CHICAGOHTS,|L AU                  01:00
           0618  pm       (773) 302-1716 CHICAGO,IL    AU                  0l:00
           06:34 pm       (773) 746-0343 lncolning     AU                  02:00
           06:57 pm       (773) 3@.-1716 CHICAGO,IL    AU                  01:00
           06:58 pm       (773) 746-0343 CHICAGO,IL    AU                  0l:00
           07:00 pm       (773) 302-1716 lncoming      AU                  0l:00
           0714 pm        (773) 746-0343 lncoming      AU                  01:00
           07:31 pm        (773)302-1716        tncoming       AU          02:00
           08:04 pm                   6
                           (773) 302-171  CHICAGO,IL           AU          01:00
            08:0s   pm     (708) 687-7500 BLUEISLAND,IL        AU          01:00
               pm
            08:26          (77s) 302-1716 CHICAGO,IL           AU          01:00
        08.,27 pm          f/7s) 302-1716 CHICAGO,IL           AU          01:00
        09:37 pm           (773) 746-0343 CHICAGO,IL           NWAU        02:00
        10:11 pm           (224) 336-2030 NORTHBROOK,IL        NWAU        03:00
        10:32 pm           (708) 574-6532 LA GRANGE,IL         NW/AU       02:00
                                                                                                               Rate Type
 Sep 30 08:17 am           (773) 746-0343 CHICAGO,IL           NWAU        01:00
                                                                                                               AU Anytime/Plan   Usage
            08:53 am       r/3) 746-0343 CHICAGO,IL            NWAU        05:00
            09:12 am       (773) 256-8956 CHICAGO,IL           NWAU         01:00
                                                                                                               CW Callwaiting
            09:14 am       (708) 220-9204 ROSELLE,IL           NWAU         03:00                              NW Night   anci M/eekends


 Call Details - (773) 297-6519 - Voice continues...
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                                                                          Account Number: 1 52127 837
                                                                          Bill Period:'Sep 03 - Oct 02, 2017

Sprint


                   To / From            Destination          Mins
     02:28 pm (7oB) 600-3525 LA GHANGE,IL AU                 OS:00    -
     02:40 pm O73) 746-0343 CHICAGO,IL AU                    01:00
     02i41 pm p73)746-0343 CHICAGO,L                         01 :00
     02:43pm (?73)746-A3$               lncoming             03:00




     03:37   pin   [/08) 600-3525   .   LA   GMNGE,IL   AU
     0331    pm    (708)580-7554        lncoming




     0s26pm        (708)668-2937




                                                                                              Hate Type
                                                                                             AU   Anytime/Plan Usage
                   Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 46 of 78 PageID #:239

                                                            Contacl Us
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     W
     5prrnt
                                                            sprint.com/contactus          1-888-211-4727
                                                                                          (?   from yourSprint Phone)
                                                                                                                        Accourii Niirnber  1 521 27837

                                                                                                                        Bill Period: Oct 03 : Nov 02, 2017




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,'
      E-ast Bitl                                                This Bill

      Previous Total Due                        $164.22         Account Charges                          $18.84

      Payment on 10/24 - Thank                 -$16s.00         Pians & Equipment                       $137.09
      you!
                                                                Sprint Surcharges                         $9.90
      Balance Forward                           -$0.78
                                                                Government Taxes & Fees                   $5.04

                                                                Total Charges this Bill
                                                                                                      $170.87




                                                                                                                          l-ast thee months (new charges)
     ffi   Fay online                (^'- PuybyPhone                       ffi   P"ybyMai!


                                                                                                                    W W
           spflnl.com/myspnnl             1-aoo-79+-zeog                         Return the form below with
                                        '("3 from your Sprint Phorie)            a check payable to: Sprint


     Please see the News and Notices seclion on page 2 for important information and changes io Sprinfs
     policies.                                                                                                          sep             Oct           This month




           PO Box 629023 El Dorado Hills, CA 95762
                                                                 EilTE
                                                                 ffi
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           spnintb                                               Scan   to pay        Amoumt Due hy [Uov 26


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           P0 Box 4191
           Carbl Stream,        IL   60197-4191




            15e1e?S3? UBU0U0I?UA? ti0tl80UE[0?g0 0UE0BCII?EE5r
                     Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 47 of 78 PageID #:240


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                                                                                               Account Number: 1 521 27 837
                                                                                               Bill Period: Oct 03 - Nov 02, 2017




Call Details - (708) 57+6532 - Voice ...continued

On Al                         To/ From              Destination    Rate       Mins      Cost
            10:36 am          (773)   440-0651     CHICAGO,IL.     AU         02:00
            l0:52 am          (309) 642-8561        PEKIN,IL       AU         03:00
            11 l4 am          (872) 814-4590        lncoming       AU         04:00
            l1:26-am          (773)418-8579         CHICAGO,IL     AU         01:00
            11:54 am          (775) 418-8579        CHICAGO,IL     AU         01:00
            12:41  pm (?73)322-2975                 lncoming       AU         01:00
            12:4:I pm frc) 41&8579                  Incoming       AU.        01:00
            12i49    pm       (773) 418-8579        lncoming       AU         01:00
            02r3     pm       (773)322-2975         lncoming       AU         01:00
            02:35 pm          (312) 599-8514        CHICAGO,IL     AU         01:00
            02:35pm           (773)322-2975         CHICAGO,IL     AU         01:00
            02:41 pm          (773) 297-6519        lncoming       AU         01   00
            03:11 pm          f73)875-8149          CHICAGO,IL     AU         02:00
            03:42       pm    (773) 875-8149.       lncoming       AU         01:00
            05:40pm           (t73\322-2975         lncoming       AU         01:00
            06:03 pm          (312) 599.8514        lncoming       AU         01:00
            0633pm            (773)297€519          lncomin$       AU         02:00
            06:42pm           U73)322-2975          CHICAGO,IL     AU         01:00
            07:tl pm          (312) 599-8514        lncoming       AU         01:00
            0721        pm    (773\322-2975         CHIGAGO,IL     AU         01:00
            08OO   pm         (872) 215-8140        CHICAGO,IL     AU         01:00
NovCl       06:41  am         (773)818-1079         CHICAGO,IL     NWAU       0'l:00
            02:4'l pm         (773) 818-1079        CHICAGO,IL     A.U        01:00
            O2:42pm           (312) 599-8514        CHICAGO,IL     AU         02:00
      o2i44pm                 {773) 4:18-8579       CHICAGO,IL     AU         01:00
      02i45 pm                (773) 875-8149        CHICAGO,IL     AU         01:00
      04i40 pm                (312) 599-8514        lncoming       AU     '   0l:00
NovO2 01:52pm                 (708) 620-0400        TINLEYPARKIL   AU         01:00
            02:48       pm    fi08) 620-0400        lncoming       AU         02:00
            .02:50      pm    (708) 860-2326        LA GRANGE,IL   AU         01:00
            02:51       pm    (173) 412-9652        CHICAGO,IL     AU         01:00
            04:35       p,m   (312) 599-8514        CHICAGO,IL     AU         02:00
            06:52 pm          (773) 297€519         Incoming       AU         01:00
            08:32 pm           1773)322-2975        CHICAGO,IL     A,U        01:00
            08:32       pm     (773) 418-8579       CHICAGO,IL     AU         0l :00



 Gali Eletaits -          ffiq        zaf6519 - Voice
 On          At                To / From            Destination    Rate       Mins      Cost
 Oct   03    10:4'1 am         (708)600-3525         LAGRANGE,TL   AU         04:00
             1      am (773) 746-0343 CHICAGO,IL
                 0:45                                              AU         01:00
             11:05  am (312)730-3121 CHICAGO,IL                    AU         03:00
             1 1:23 am (708) 921-8255 SUMMIT,IL                    AU         05:00
             I :49 am
                 1     (708) 600-3525 LA GRANGE,IL                 AU         01:00
             l2l2 pm (312) 972-9016 CHICAGO,IL                     AU         02:00
             1216 pm   (773)971-A429 Incomins                      AU         02:00
             12:27 pm  (312) 972-9016 lncoming                     AU         0l :00
             01 :45 pm (708) 59s-5527 tA GRANGE,IL                 AU         01 :00
             03:02            811-5279 lncoming                    AU         01:00
             03:17 pm  (708) 574-6532 lncomins                     AU         02:00
             0s:46pm (708)878-1633 . LAGRANGE,IL                   AU         02:00
                                                                                                                    Hate Type
             04:35 pm   \312)523-7827 lncoming                     AU          l9:00                                A!.I Anytime/lPlan   Usage

             04:54 pm   (3],2)774-4512 lncoming                                02:00                                NW Night   and Weekends
             05:42 pm   (773) 97.1-0429 lncoming                   AU          0l:00
 Caill Details - (773) 297-6519          - Voice continues...
                         Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 48 of 78 PageID #:241


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                                                                                                            Account Number: 1 521 27 837
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                                                                                                            Bill Period: Oct 03 - Nov 02, 2017




    Cali Details - (773) 297-6519 - Voice ...continued

    On At                             To/ From            Deslinalion       Rate    Mins         Cost
             05:46pm                  (407)947-9400       Incoming          AU      12:00
                0610      bm          (708) 446-5176      lncoming          AU      09:00
                07:06      pm         (773) 383-1511      CHICAGO,IL        AU      17:00
                 pm
                08:3'0                (708)   595-5527    LA GMNGE,IL       AU      0830
    Oct 04 0819 am                    (866) 820-6218      Toll Free Call    AU      '16:00

           08:3s am                   (708)   668-2937    CHICAGOHTS,IL     AU      04:00
           08:56am                    f/08)668-2937       lncoming          AU      04:00
                08:59 am              (708) 369-7820      lncoming          CW/AU   01:00
                09:00 am              (708) 369-7e20      LA GRANGE,IL      AU      03:00
                09:04  am (773) 766-4559                  CHICAGO,IL        AU      01:00
                10:03 am  (708) 510-0564                  lncoming          AU      02:00
                10:09 am  (888)22+4702                    Toll Free Call    AU      08:00
                1018 am   (773) 469-7670                  CHICAGO,IL        AU      03:00
                1l21 am (773)440-0651                     CHICAGO,IL        AU      01:00
                1 l:21 am (7OB) 600-3525                  LA GRANGE,IL      AU      01:00
                11:22alr. (773) 746-0343                  CHICAGO,IL        AU      09:00
                1131 am   (708)600-3525                   lncoming          CWAU    12:00
                12:19 pm  W3)827-1585                     lncoming          AU      03:00
                1222pm (708)600-3525                      LAGRANGE,IL       AU      02:00
                12:35pm (773)440-0651                     CHICAGO,IL        AU      l6:00
                12:45ptlt (708)668-2937                   lncoming          CW/AU   0l :00
                01:40 pm   (7OB) 66e-2937                 CHICAGOHTS,IL     AU      05:00
                01:41      pm         (708) 668-2s37      lncoming          CW/AU   02:00
                01:56 pm              (773)    875-9081   CHICAGO,IL       rAU      02:00
                02:01 pm              (773) 7664559       lncoming          AU      15:00
                02:41 pm              (708)921-8255       lncoming          AU      02:00
                04:57pm               (773)957-5107       CHICAGO,IL        AU      01:00
                06:15      pm         (773) 302-6519      CHICAGO,IL        AU      03:00
                06:17 pm f/3) 302-65:19                    lncoming         AU      22:AO

                06:39 pm (773) 302-6519                    lncoming         AU      01:00
                07:12 pm (708) 574-6532                    lncoming         AU      02:OO

    Oct05 08:49,am                    (407)947-9400        lncoming         AU      01:00
                 10:02       am       (407)    947-9400   ORLANDO,FL        AU      03:00
                 10:07am              (708)921-8255        SUMMtT,IL        AU      08:00
                 10:15 am             (773) 256-8S56       CHICAGO,IL       AU      01:00
                 10:16 am              (773) 256-8356      lncoming         AU      02:00
                 11:47 am              (773) 558-0047      lncoming         AU      06:00
                 t   1   :58 am   .    (773) 746-0343      lncoming         AU      01:00
                 '12:04pm              (7081668-2S37       CHICAGOHTS,IL    AU      02:00
                 '12:05      pm        (813) 970-6642      lncoming         AU       11:00
                 12Jo        pm        (7oe)   668-29s7    CHICAGOHTS,IL    AU       02:00
                 '12:31pm              (708) 668-2937      lncoming         AU       03:00
                 1237  pm              (773)971-0429       lncoming         AU       01:00
                 12:52 pm              (708) 921-8255      Incoming         AU       02:00
                 02:53 pm              (312) 462-9153      CHICAGO,IL       AU       01:00
                 0329 pm               (315) 636-5408      Incoming         AU       01:00
                 03:52       pm        (708) 600-352s      lncoming         AU       02:00
                 0426        pm        (708)   595-5527    lncoming         AU       02:00
                 04:39       pm        (708) 574-6532      lncoming         AU       02:00


                  0612  pm            970-6642 lncoming
                                       (813)
                                                                                                                                 Rate   iype
     Oct   06     08:29 am            574-6532 lncoming
                                       (708)              AU                         02:00
                  08:50 am      (708) 600-3525 lncoming   AU                         03:00
                                                                                                                                 AU   Anytime/Plan Usage

                             am (773) 971-0429 CHICA99,|L AU                         02:00                                       CW Callwaiiing
                     09:00                                                                   "          -


      Call Details - (773) 297-6519 - Voice continues...
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                                                                                               Account Number: 1 521 27837
                                                                                               Bill Period: Oct 03 - Norr 02, 2017


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Call Details - (773) 297-6519       -   Voice ...continued
                                                                -1

On At                     To/From                 Destination        Rate     Mins      Cost
        09:08  am         (173\708-4468           CHICAGO,IL         AU       06:00
        09:l3am           (773\217-7082           Incoming           CW/AU    01:00
        09:13 am          (773)   708-4468        CHICAGO,IL         AU       01:00
        09:15am           (903)686-2811           lncoming           AU       02:00
        10:01 am         462-9153 CHICAGO,IL
                          (312)                                      AU       17:00
        10:02am    W3)302-1716 lncoming                              Cw/AU    01:00
        10:17 am   (773) 502-1716 CHICAGO,IL                         AU.      05:00
        11:?2an    C/73) 302-1716 CHICAGO,IL                         AU       02:00
        '10142 am
                   WA)746-0343 CHICAGO,IL                            AU       01:00
        10:43 am   [/08) 381-8063 OAK FOR SO,IL                      AU       02:00
         10:47 am  (708) 921-8255 SUMMIT,IL                          AU       04:00
         l1 :00 am W3)746-0343 lncoming                              AU       01:00
         11:s4 am (312)7744s12 CHICAGO,IL                            AU       02:00
         1150 am   Wg)217-7082 lncoming                              AU       01:00
         11:51 an  (773)302-1716 CHICAGO,IL                          AU       01:00
         11 :52 am  Arc\ 302-1716 lncoming                           AU       01:00
         12:00 pm   (708)921-8255 lncoming                           AU       05:00
         1235 pm (773) 256-8956 CHICAGO,IL                           AU       02:00
         12:07 pm   fO8) 921-8255 SUMMIT,IL                          AU       01:00
         01:07 pm W3)746-0343 CHICAGO,IL                             AU       07:00
         01:42 pm   WS)302-1716 CHICAGO,IL                           AU       06:00
         01:48 pm   (800)746-2936 Toll Free Call                     ,AU      13:00
         02:00 pm   (312)774-4912 CHICAGO,IL                         AU       03:00
         02:40 pm   (888) 811-5279 lncoming                          AU       01:00
         02:44 pm   (708) 369-7820 lncoming                          AU       04:00
         0321 pm (708) 527-6530 lncoming                             AU       01:00
         03:33 pm                  746-4343                          AU       03:00
         03:39 pm          (708)   574-4197        lncoming          AU       03:00
         03:59 pm          1773)971-0429           Incoming          AU       01:00
          03:59      pm    1773)9714429            CHICAGO,IL        AU       01:00
              pm
          04:08            (773)746-0343           Incoming          AU       03:00
          04:35pm F73)746-0343                     lncoming          A.U      01:00
          04:36.pm 1773)746-0343                   lncoifling        AU       02:00
          05:06 pm 1773\746-A3$                    CHICAGO,IL        AU       05:00
          05:46 pm         (708) 574-6532          lncoming          AU       01:00
          05:48 pm         (708) 574-6532          LA GMNGE,IL       AU       01:00
          06:34 pm         (708) 574-6532          LA   GRANGE,IL AU           01 :00


             06:38   pm (773).246-0343             CHICAGO,IL         AU       01:00
             06:39   pm 1773)746-0343              lncoming           AU       03:00
             06:43   pm    1708)776-3252           FOREST,IL          AU       01 :00
              prir (773) 302-1716 CHICAGO,IL
             06:47                                                    AU
        07:07 pm   (224) 336-2030 NOHTHBROOK,IL                       AU       01:00
        07:08 pm   (224) 336-2030 lncoming                            AU       04:00
        07:34 pm   (773)746-0343 CHICAGO,IL                           AU       02:00
        07:58 pm   (/73) 302-1716 CHICAGO,IL                          AU       01:00
        08:43 pm   (773) 746-0343 CHICAGO,IL                          AU       02:00
        08:45 pm   (773) 302-1716 CHICAGO,IL                          AU
        08:58 pm   (773)302-1716 lncoming                             AU       29:00
        10:40 pm   (773) 302-1716 lncoming                            NWIAU    01:00
                                                                                                                     RateType
 Oct 07 08:23 am    (773)746-0343 CHICAGO,IL                          NW/AU    03:00
                                                                                                                     AU   Anytime,Flan Usage
        08:25 am    (773) 256-8s56 CHICAGO,IL                         NW/AU    01:00
                                                                                                                     CW Calllvaiting
        osl3 am (773) 256-8956 CHICAGO,IL                             NW/AU    01:00
        09:28 am    (773) 766-4559 CHICAGO,IL                         Nw/AU    06:00                                 NW Night and Weekends


  Call Details - (773) 297-6519 - Voice eontinues...
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Spnint
                                                                                 Account Number: 1 521 27 837
                                                                                 Bill Period: Oct 03 - Nov 02,2017




Catt Detai\s - 1ne1 ZSZ-1S|S -Voice...continued

On At                   To/'From         Destination   Ratq     Mins      Cost
        09:01 am (312)T144912 CHICAGO,IL     AU                 02:00
        0925 am (312) 435-5670 CHICAGO,IL    AU                 01:00
        0928 am (312) 435-5670 CHICAGO,IL    AU                 01:00
        09:43 am  O08) 369-7820 lncoming     AU                 02:00
        0943 am (708) 580-7554 lncoming      CWAU               01:00
        09*4 am (708) 580-75s4 TINLEYPARK,IL AU                 0'l:00
        09:5gam (773)746-0343 lncoming       AU                 01:00
        10:07 am  (708) 921-8255 lncoming    AU                 07:00
        1Oi7 an   (773) 556-3018 lncoming    AU                 01:00
        11:11 am  (815) 341-7949 JOLIET,IL   AU                 01:00
        11:12 am  (815) 341-7949 lncomins    AU                 03:00
        1 1I 4 am (773) 746-0343 CHICAGO,IL  AU                 01:00
        11:16      am   Arc)746-A34.3    lncoming      AU       03:00
         11   20 am (708) 369-7820 lncoming            AU       01:00
         11:30 am   (708) S21-8255 lncoming            AU       11:00
         1 1 :53 am (708) 200-1 588 lncoming           AU       01:00
         '12:36 pm  (708) 200-1588 lncoming            AU       01:00
         12:44pm (773| 469-7670 CHICAGO,IL             AU       01:00
         12:50 pm   (773\302:1716 CHICAGO,IL           AU       01:00
         01l8pm (773)302-1716 lncoming                 AU       01:00
         0i:39 piri {7/3) 302-1716 CHICAGO,IL          AU       02:00        -
         02:03 pm   (773)217-7082 lncoming             AU       01:00
         0223      pm   1773)746-0343     CHICAGO,IL   AU       04:00
         02:32pm        (708)   600-3525 Incoming      AI.J     02:OO

         03:30 pm               983€500 lncoming       AU       02:00


         04J1 pm        374-1580 CHICAGOHTS,IL
                        (/oe)                          AU       09:00
       0424pm           302-1716 CHICAGO,IL
                        (773)                          AU       01:00
       04:31 pm   (773) 746-0343 CHICAGO,IL            AU       02:00
       05:'19 pm  (708) 20C1588 LA GMNGE,IL            AU       02:00
       05:28 pm   (708) 57+4197 LAGRANGE,IL            AU       02:00
       0s:29 pm   (708) 200-1588 LA GRANGE,IL          AU       01:00
Oct 10 07:52 am   (407) 947-9400 ORLANDO,FL                     01:00
       08:'14 am  (407) 947-9400 ORLANDO,FL            AU       03:00
         o8'.22am (773) 302-1716 CHICAGO,IL            AU       01:00
         09:38am (407\947-940A lncoming                AU       07:00
                                                                02:00
                                                                01:00
         03:48pm (708)e737-6068 Incoming               AU       01:00
        04:00 pm O08) 737-6068 lncoming                AU        01:00
        04:00 pm (708) 737-6068 ORLAND,IL              AU        02:00
        04:02 pm (813) 970€642 TAMPAFL                           03:00
        04:13 pm (708) 737-6068 lncoming               AU        01:00
        04:14 pm (708) 737-6068 lncoming               AU        01:00
        04:14 pm (23) 746-0343 CHICAGO,IL              AU        09:00
        05:38 pm (866) 316-2432 lncoming               AU        01:00
        07:27 pm (407) 947-9400 ORLANDO,FL              AU       0l :00
        07:48 pm (773) 746-0343 CHICAGO,IL              AU       01:00
        0810 pm (407) 947-9400 ORLANDO,FL               AU       04:00
        08:17 pm  (407) 947-9400 ORLANDO,FL             AU       01:00
 Oct 11 0816 am (407) 922-6077 KISSIMMEE,FL             AU       02:00
                                                                                                     Rate'["ype
        0817 am (407) 922-6077 lncoming                 GW/AU    04:00
         0820 am (321) 662-6534 ORLANDO,FL              AU       04:00
                                                                                                     AU Anytime/Plan   Usage

         0827 an  (773) 746-0343 CHICAGO,IL             AU       02:00                               CW CallWaiting

 Call Details - (773) 297-6519 - Voice continues...
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                                                                                            Account Number: 1 52127837
                                                                                            Bill Period; OctO3 - Nov 02, 2017

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 Cail Details - 1273) 297-0Sl9 - Voice...continued

 On At                      To/From             Destination    Rate    Mins      Cost
              0s:09    am   O08) 762-6679       RIVERSIDE,IL   AU      02:00
              09:22am       (773) 440-0651      CHICAGO,IL     AU      05:00
               am
              l0:12         (407) 947-9400
                                      lncomins   AU                    0l:00
         10:12 am           (404 947-9400
                                      Incoming   AU                    01:00
         10:29am            (404 809-2903
                                      lncoming   AU                    03:00
         1035 am      (40?-922-6077 KISSIMMEE,FL AU                    02:00
         01:10 pm     (312) 217-8769 Incoming    AU.                   02:00
         01:13 pm     (773) 297-3855 lncoming    AU                    01:00
         01:56pm (773)729-0324 lncoming          AU                    03:00
         02:00 pm (404 947-9400 ORLANDO,FL       AU                    02:00
         02:19pm (404947-9400 ORLANDO,FL         AU                    0'l:00
         02:31 pm     (770) 78S-e416 lncoming    AU                    02:00
         02:58 pm     (407) 947-9400 lncoming    AU                    02:00
         03:53 pm     (888) 811-5279 lncoming    AU                    01': 0
         06:07 pm     (773) 746-0343 CHICAGO,IL  AU                    02:00
         06:08pm (407)947-9400 ORLANDO,FL        AU                    01:00
         06:29 pm     (407) 947-9400 lncomins    AU                    04:00
         09:05pm (312)731-9082 lncoming          NW/AU                 03:00
         09:14 pm      (708')T16-3252 FOREST,IL  NW/AU                 0l:00
         09:16 pm (773) 678-3S06 CHICAGO,IL      NWAU                  0l:00
         09:'!6 pm (773) 678-3906 lncoming       NW/AU                 03:00
         09:25pm (404575-8692' lncoming          NW/AU                 0l:00
         09:50 pm (407) s47-9400 ORLANDO,FL      NWAU                  04:00
  Oci 12 07:54 am (407) 947-9400 ORLANDO,FL      AL'                   06:00
          09:14 am     (321) 666-9609 lncoming   AU                    01:00
          09:18 am     (773) 746-0343 CHICAGO,IL AU
          09:32 am     (321) 666-9609 lncoming   AU                    01:00
          1023 am (770) 789-8416 ATLANTANE,GA AU                       05:00
          10:42 am     (404 947-9400 lncoming    AU                    05:00
          11:51 arn ,  $0n922-6077 lncoming      AIJ                   02:00
          11:53 am $On922-6An KISSIMMEE,FL        AU                   01:00
               11:55,qm (708)T16-3252           FOREST,IL      AU      01:00
               12:02 pm     (773) 766-45ss      CHICAGO,IL     AU      01:00
               12:03 pm     (407) 947-9400       Incoming      AU      0l :00
               12:03 pm     (773) 766-4559       Incoming      CW/AU   01:00
               t2O3 pm      (773) 766-4s59       CHICAGO,IL    AU      01:00
               12:16pm. (773)302-6519 lncoming                 AU      02:00
               12:34pm - (173)729-0324 lncoming .'.            AU      01:00
               01 :31pm (708)-689-7419           lncoming      AU      02:00
               01:36 pm (708) 668-2937           lnc$ming      AU      01:00
               02:16 pm (708) 689-7419           FOREST,IL     AU      07:00


               0s:03 pm (708) 668-2937 CHICAGOHTS,IL AU
               0323  pir (312) 863-2800 lncoming     AU                 0l :00
               0325 pm (708) 600-3s2s LA GMNGE,IL    AU                 02:00
               03:32 pm  (708) 600-3525 lncoming     AU                 01:00
               03:33 pm  (312) 863-2800 CHICAGO,IL   AU                 01:00
               03:34 pm  (708) 600-3525 LA GRANGE,IL AU                 01:00
               0334 pm (312) 863-2800 CHICAGO,IL     AU                 02:00
               03:55 pm  (773) 766-4559 CHICAGO,IL   AU                 04:00           -
                                                                                                                Rate T'ype
               04:26 pm  f/08) 351-5858 lncoming     AU                 03:00
                                                                                                                A,lJ Anytime/Pian   Usage
               04:50 pm  (708) 574-6532 LAGRANGE,IL  AU                 02:00
                                                                                                                CW CallWaiting
               04:54 pm   (773) 620-3786 lncoming    AU                 C6:00
               05:21pm (407)922-8A77 KISSIMMEE,FL    AU                 02:00
                                                                                                                hllM t\ight   and Weekends



       Call Details - (773) 297-6519 - Voice continues...
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                                                                                                Account Number: 1 521 27 8A7
                                                                                                Bill Period: Oct03 - Nov 02, 2017




Ca1| Oetats - (773) 297-6519   - Voice ...continued

On At                 To/ Frorn            Destination     Ftate          Mins       Cost
        05:56 pm      Unavailable          lncoming        AU             02:00
        07:04    pm   (773)   74,q-9343    cHlCAGo,lL      AU             01:00
        07:05 pm      (Zg)  746-0343 lncoming      CWAU                   02:00
        073gpm        (708J 689-7419 FOREST,IL     AU                     02:00
        0830 pm       (7/3) 440-06s1 CHICAGO,IL    AU                     06:00
        08:06 pm      fng) 746-0343 CHICAGo,IL     AU                     02:00
        08:07 pm      (Zg) 746-0343 CHIOAGO,IL     AU                     06:00
        08:12 pm      (773) 67e-3906 Cl.llCAGO,lL  AU                     04:00
        08:i6 pm      (708) 668-2937 CHICAGOHTS,IL AU                     03:00
        0820     pm   O08) 574-41S7 LA GRANGE,IL AU                       01:00
        08:53 pm      (708) 689-7419 lncoming      AU                     03:00
        08:58 pm      (708) 689-7419 lncoming      AU                     02:00
        0914 pm       (708) 921-8255 SUMMIT,IL     NwiAU                  02:00
        09J7     pm   (708) 921-s255       SUMMIT,IL       NW/AU          09:00
             pm (773) 678-3906 CHICAGO,IL
         10:10                                             NWAU           1   l:00
Oct 13 05:46 am  (4On 922-607i KISSIMMEE,FL                NWAU           02:00
       05:46am t404922-6077 lncoming                       NW/CWIAU 0l:00
       0812 am   (321) 784€300 Incomins                    AU             01:00
       08:14 am  (407)922-6on KISSIMMEE,FL                 AU
                                                                -         02:00
       08:l6 arn (407) 947-9400 ORLANDO,FL                 ATJ            02:00
         09:04 am     (770)78s-8416 ATLANTANE,GA           AU             02:00
         09:33  am (404 947-91100 ORLANDO,FL               AU             04:00
          09:40 am (77s)746-0343 CHICAGo,IL                AU             05:00
         '10:25 am (407) 947-9400 ORLANDO,FL               AU             03:00
          10:29am $0n922-6077 KISSIMMEE,FL                 AU             02:00
        -10:57 am  (708) 359-0611 lncoming                 AU             01 :0C
          I :14 am
          1        (708) 600-3525 LA GRANGE,IL             AU         .   07:0C
          11:29 am (708) 580-7554 lncoming                 AU             02:00
          02:35 pm (773) 766-45s9 CHICAGO,IL               AU             01:0O
          02:36 pm (t08) 574aa97 LA GRANGE,IL              AU             01:00
          0237 pm  (708) 200-1588 LA GHANGE,IL             AU             0'l:00
         02:52   qm   (708)T?6-3252        FORESUL         AU             03:00
         02:56 pm (312) 599-8514           CHICAGO,IL      AU             02:0o
         02:58pm (708)s74-65q2             LAGRANGE.IL     AU             02:00
         03:30 pm  (407) 947-9400          OHLANDO,FL      AU             01:00
         03:55 pm  (t73)746-a3n            CHICAGO,IL      AU             02:00
         05:35 pm .(708) 574-6532          LA   GBANGE,IL AU              0I:00

         0743
         07:4s
               pm Unavai$ble
               pm (708) 574-6532
                                           Incoming
                                           LAGRANGE,IL
                                                           AU             01:00             w
                                                           AU             02:00
         07:46 pm (404 947-9400            ORLANDO,FL      AU             06:00
         09:37 pm (773\746-0343            CHICAGO,IL      NWAU           02:00
Oct 14 , 09:19 am (773)746-0343            CHICAGO,IL      Nll/iAu        01:00
         0935 am .(77q eA2-1716            lncoming        N\,V/AU        01:0Cl
         09:42 am (312) r/8-9688                           NWAU           03:00
         l1:37am (773)766-4559             CHICAGO,IL      NWAU           0X:00
         1'lss   am    (773) 766-4559      lncoming        NWAU           02:00
         11:4l am (312)778-9688            CHICAGO,IL      NWAU           02:00
         11:57 am (708) 600-3525            Incoming       Nw/AU          03:00
         02:07pm (407)922-60n               lncoming       NW/AU          02:00
                                                                                                                    Rate llype
         03:37 pm      (708) 574-6532       LA GBANGE,IL   NWAU           01:00
         05:05 pm      (312) 414-9350       lncoming
                                                                                                                    AU Anytime/Plan   Usage
                                                           NWAU           02:00
         06:14 pm      (708) 574-6532       LA GRANGE,IL   NWAU           02:00
                                                                                                                    CW Callwa;ting
         06:20 pm      (708) 574-6532       LA GRANGE,IL   N\'\I/AU       12:00                                     NW Night   and Weekends


 Call Details - (773) 297-6519 - Voice continues...
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                                                                                            Account Number: 152127 837
                                                                                            Bill Period: Oct 03 - Nov 02, 2017


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    .Calt Details -   O7q   297-6519 - Voice ...continued

    On At                    To/From              Destination   Rate    Mins         Cost
              '10:00   am 789-8416 lncoming
                              (770)           AU                        01 :00

              1036 am (40V947440o ORLANDO,FL AU                         01:00
              10:40am (404947-9400 ORLANDO,FL AU                        01:00
              I1g2 am (407)922-6077 Incoming  AU                        02:00
              12:10    pm
                      (407)922-A077               lncoming      AU      03:00
              01:23pm (770)789-8416               Incoming      AU      01:00
              02s4     pm {773)7464343            CHICAGO,IL    AU      01:00
              02:37    pm     (773')746-0343 'lncoming          AU      03:00
              0333     pm     (678)   416-6362    lncoming      AU      04:0O
              03i45    pm     (ZZS) SeS-1St   l   tncomins      AU      02:00
                  pm (574)201-8723 lncoming
              05:10                                             AU      03:00
           05:33 pm   (574)201-8723 ROCHESTER,IN                AU      01:00
           06i09 pm   (404947-9400 lncoming                     AU      03:00
           06:15 pm   (407) 947-9400 lncoming                   AU      03:00
           O722pm (404 808-6265 lncoming                        AU      01:00
           07:50 pm   (773)746-0343 CHICAGO,IL                  AU      02:00
           07:53 pm   (Tl3) 302-1716 CHICAGO,IL                 AU      01:00
           07:57 pm   (708) 600-3525 LA GRANGE,IL               AU      04:00
           08:00 pm   (7/3) 746-0343 CHICAGO,IL                 AU      03:00
           08:02 pm , (773)746-A343 CHICAGO,IL                  AU      01:00
           08:04 pm (Z/3) 746-0343 CHICAGO,IL                   AU      01:00
           0834pm (407)947-9400 ORLANDO,FL                      AU      01:00
            10:40 pm   (773) 678-3906 CHICAGO,IL                NW/AU   03:00
     Oct17 09:00am (404947:9400 ORLANDO,FL                      AU      01:00
            09:15ari (4071922-6077 KISSIMMEE,FL                 AU      02:00
            09:21 am   (407)522-6077 lncoming                   AU      01:00
            09:43 am   (4071947-9400 ORLANDO,FL                 AU      01 :00

            09:44 am   (407) 947-9400 Incoming                  AU      01:00
            10:32am (708) 600-3525 lncoming                     AU      01:00
            10:37 am   (773\74&0343 lncoming                    AU       01:00
            11:22 arn (708) 921 -8255  lncoming                 AU       03:00
            11:52 ain   Q73)746-A343 CHICAGO,IL                 AU       05:00
            11 :57 am   (708) 600-3525 LA GMNGE,IL              AU       02:00
            12:04 pm    O73)9714!29 CHICAGo,IL                  AU       02:00
             12:09 pm   (312) 353-5836 lncoming                 AU       03:00
            01:12 pm    (773) 294-4903 Incoming                 AU       04:00
            02:00 pm    (312)774-4912 Incoming                  AU       02:00
             02:22pm          746-0343 CHICAGO,IL                        01:00
                               11-5279 Toll Free Call                    01:00
                02:34   pm     (773)746-0343       lncoming              01:00
                   pm (7O8t 574-6532 LA GRANGE,IL
                05:56                                           AU       01:00
             06:19 pm  (708) 527-6530 Incoming                  AU       01:00
             06:24 pm  (708) 527-6530 lncoming                   AU      02:00
             08:53 pm  (708) 600-3s25 LA GMNGE,IL                AU      01:00
             08:53 pm  (708) 600-3525 lncoming                   AU      01:00
             08:54 pm  (708) 600-3525 LA GRANGE,IL               AU      0'l:00
             08:54 pm  O08) 600-3525 LA GRANGE,IL                AU      01:00
             09:01pm (708)574-6532 tAGRANGE,IL                   NWAU    01:C0
      Oct 18 08:10 am  (708) 381-8063 OAK FOR SO,IL              AU      02:00
             08:31 am   (312\241-8512 CHICAGO,IL                 AU      '11   :00
             09:16 am   908) 668-2S37 lncoming                   AU      01:00
                                                                                                                 Hate'fype
             0925 am    (708) 203-2820 lncoming                  AU      01:00
                                                                                                                 AU Anytime/Plan Usage
              1020 am   (708) 446-5176 LAGRANGE,IL               AU       01:00
              10:55 am  (877) 496-3138 Toll Free Call            AU       07:00
                                                                                                                 NW   Night arid Weekends



       Call Details - (773) 297-6519 - Voice continues...
                      Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 54 of 78 PageID #:247


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                                                                                             Bill Period: Oct 03 - Nov 02,2017
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        Call Details - (773) 297-6519 -Voice ...continued

        On          At            To/From           Destination     Rate   Mins       Cost
                    11:02 am (708) 878-1633 LA GRANGE,IL    AU             02:00
                    11Og am   (708) 878-1633 lncoming       CW/AU          03:00
                    1lJ1am (773)/t94-6585 GHICAGO,IL AU                    09:00         -
                    1124all/' (S66) 820-621S Toll Free Call AU             21tOO
                    12:16 pm (708) 381-e0ffi OAK FOR SO,IL  AU             01:00
                    12:16 pm  (708) 381€063 OAK FOR SO,!L   AU             0l   :00
                    12i17 pm  (708)381-8063 lncoming        AU             02:00
                    1220 pm (708) 897-8160 BLUEISLAND,IL AU                03:00         -
                    12:22pm (708) 359-4906 LA GEANGE,IL AU                 02:00
                    12:26 pm (70e) 595-5527 lncoming        AU             05:00


                    0126    pm    (888) 811-5279 lricoming
                      :34   pm    (874  496-3138 Toll Free Call
                    02:15   pm    (708) 203-2820 lncoming       AU         12:OO
                    02:53 pm      (708) 600-3525 lncoming       AU         01:00
                    03:02 pm      O73) 902-8060 CHICAGO,IL      AU         02:00
                    0328 pm       (708) 986-5301 lncoming       AU         01:00
                    03:30 pm      (708) 986-5301 BLUEISLAND,IL AU          01:00
                    0336 pm       (708) S86-5301 lncoming       AU         06:00
                    04:26    pm   (312) 462-9200 lncoming       AU         09:00
                    04:35    pm   (312) 462-9200 lncoming       AU         01:00
                    05:40trim (312)504-5794         Incoming        AU     01:00
                    05:47 pm     446-5176 Incoming
                                  O08)                 AU                  01:00
                    05:49 pm
                          (708) 527-6530 lncoming      AU                  04:00
                    4721 pm
                          (708) 5/4-6532 LA GRANGE,IL  AU                  01:00
               0732 pm (708) 574-6532 lncoming         AU                  01:00
        Oct 19 08:09 am   (708) 66&2937 lncoming       AU                  01 :00
               081 1 am   (708) 762-6679 lncoming      AU                  01:00
               08:57 am   (i73) 556-3018 CHICAGO,IL    AU                  03:00
               08:59 am   (708) 510.0564 lncoming      AU                  02:00
               09:10 am   goe) 897-8160 lncoining      AU                  02:00
               09:59 am   (708) 921-8255 lncoming      AU                  10:00
               10:38 am . (773) 556-3018 CHICAGO,IL    AU                  01:00
               11:08 am   (708) 568-2s37 CHICAGOHTS,IL AU                  01:00
               1 l r09 am  (708) 668-2937 lncomins     AU                  01:00
               11:55 am    (708) 574-4197 lncoming     AU                  04:00
               12:12pm. (773) 556-3018 lncoming        AU                  02:00
               12:23pm (708) 668-2937 lncoming         AU                  01:00
               02:20 pm    (708)€574€5s2 LAGRANGE,IL   AU                  01:00
               02:21 pm    (708) 57+6532 lncoming      ail                 0I:00
               02:46 pm    {708) 574-6532 lncoming     AU                  01 :00
               02:58 pm    (773)'147-1744 lncoming     AU                  01:00
               02:59 pm    (800) 279-4268 lncoming     AU                  01:00
               04;07 pm    f/08) 595-5527 lncoming     AU                  0l:00
               05:07 pm    (866) 316-2432 lncoming
               05:48 pm    (708) 527-6530 lncoming
                05:54 pm    (574)201-8723 ROCHESTER,IN AU                  02:00


         Oct   20    08:42   am    (708) 692-3542   LAGMNGE.IL      AU     01:00
                     0900  am      (708) 203-2820    LA GRANGE,IL   AU      l6:00
                     09:23 am      1773)302-1716     CHICAGO,IL     AU      01:00
                                                                                                                      Rate Type
                     09:47   am    (708) 600-3525    Incoming       AU      10:00
                     1041 am       (708) 203-2820    lncoming       AU      05:00
                                                                                                                     AU       Anytime/Plan Usage

                     11:11   am    (773) 556-3018    CHICAGO,IL     AU      01:00                                    CW CallWaiting

         Call Details - (773) 297-6519 - Voice continues...
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                                                                                            Bill Period: Oct 03 - Nov 02, 2017




        Cat Oe,tals -   Wq   297-6519 -Voice ...cantinued

        On At                 To / From           Deslination   Rate    Mins     Cost
                11:12 am      (773)  7464343 CHICAGO,IL        AU       05:00
                 1121 am     (708) 600-3525 lncoming           AU       03:00
                12:48 pm (708) 668-29s7 CHICAGOHTS,IL AU                01:00       -.
                12:49 pm (708) 668-2937 lncomins               AU       01:00
                0151 pm (888) 811-5279 lncoming                AU       01:00
                01 54 pm     (407) 947-9400 lncoming           AU       05:00
                0222pm (708) 57+6532 lncoming                  AU.      02:00
                02:24 prn     (708) 574-6532 LA GMNGE,IL       AU       01:00
                02:58 pm      (708) 574-6532 LA GRANGE,IL      AU       01:00
                03:32pm (708) 668-2937 lncorhing               AU       02:00       -
                03:34 pm      (708) 574-6532 LA GHANGE,IL AU            01:00
                03:54 pm ITOB) 574-4197 LA GMNGE,IL            AU       01:00
                04:01 pm      (708) 446-s176 LAGMNGE,IL        AU       01:00
                04:43pm (4O7)922-6On lncoming                  AU       05:00
                0535pm (708)527-6530 HAHVEY,IL                 AU       02:00
                05:37 pm      (708) 600-3525 LA GMNGE,IL       AU       13:00
        Oct 2'l 07:51 am      (708) 200-1588 LA GRANGE,IL      NWAU     01:00
                08:57 am      (708) 600-3525 lncoming          NWAU     01:00
                01r44 pm      (708) 57+6532 LA GHANGE,IL       NWAU     01:00
                01:45pm (708) 574-6532 lncoming                NWAU     02:00
                0237 pin      (888) 811-5279 Toll Free Call    NW/AU    01 :00
                02:38 pm       (7O8\ 574-6532 LA GMNGE,IL      NWAU     01:00
                04:13 pm       (708) 2001 588   LA GRANGE,IL   NWAU     02:00
                04:34 pm ' (708) 200-1588 LA GRANGE,IL         NWAU     01:00
                 04'.44 ptn    (t08\ 574-4197 lncoming         Nw/AU    06:00
                 08:10 pm      (708) 200-1588 LAGMNGE,IL       NW/AU    01:00
        Oct22 1 l:30 am . O08) 200-1588 lncoming               NW/AU    01 :00
                 1 1:56 am     (773) 620-3786 lncoming         NWAU     09:00
                 03:32 pm      (7oB) 532-4440 TINLEYPARK,IL NWAU        01:00
        Oct23 . 08:11 am (800)274€600           Toll Free Call AU       06:00
                 08:11 am      (708) 600€525 lncoming          Cw/AU    17:00
                 08:28.am (800) 909-6600 Toll Free Call        AU       01 :00
                 08:28am {800)274-6600 Toll Free Call          AU       09:00
                 08:50 am      (866) 629-4570 Toll Free Call   AU       08:00
                 09:00 am      (404 947-9400 ORLANDO,FL         AU      01:00
                 09:06 am       (708)510-0564 CHICAGOHTS,IL AU          01 :00
                 0923 am        (708) 580-7554 Incoming         AU      04:00
                 09:57 am
                            - (708) 381-8063 OAK FOR SO,IL AU           03:00
                 10:06 am       (708)276-3252 lncoming          AU      01:00
                 10:10am (866) 550-570s         Toll Free Call  AU      05:00
                 1 0:14 am      (708) 878-1633 LA GRANGE,IL     AU      02:00
                  10:51 am      (708) 510-0564 lncoming         AU
                  11 l0 irm     (773) 729-0324 CHICAGO,IL       AU      05:00           -
                  '11:22am (312) 414-9350 Incoming              AU      03:00
                  11:39 am      (773) 440-0651 CHICAGO,IL       AU      15:00
                  12:12pm (708) 733-2266 CHICAGOHTS,IL AU               01:00
                  1213 pm       (708) 689-7419 FOREST,IL        AU      01:00
                  12:54 pm      (708) 921-8255 lncoming         AU      03:00
                  0'l:01 pm      ?73)746-0343 lncoming          AU      0'l:00
                  0111 pm        (708)510-0564 lncoming         AU       04:00
                                                                                                                 RateType
                  01:16 pm       (773) 746-0343 CHICAGO,IL      AU       01:00
                  01 :17 pm      (708) 510-0564 lncoming        CW/AU
                                                                                                                AU   Anytime/Plan Usage
                                                                         04:00
                  01:20 pm       (407) 947-9400 ORLANDO,FL      AU       07:00
                                                                                                                CW   Call Waiting

                  01:30 pm       (407) 947-9400 Incoming        AU       08:00                                  NW   Night and Weekends


         Call Details - (773) 297-6519 - Voice continues...
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                                                                                              Account Number: 1 52127837
                                                                                              Bill Period: Oct 03 - Nov 02, 2017




        CalI Details - (773) 297-6519   - Voice...continued

        On      At            To / From            Destination     Rate    Mins        Cost
                01:37    pm    550-2929
                              (901)                MEMPHIS,TN              02:00
                01:53 pm (z0$116-3252              FOREST,IL               0l:00
                0e.91p,. (773) 808-4t174           lncoming                02:00
                02:07 pm (708) 600-3525            l_A GRANGE,|L   AU
                02:l'l   pm (ee8)811-5279          Incoming                01:00
         be     02:30    prii VAq776-3252          lncoming        AU      01:00
                03O7pm O08)574-6532                Incoming
                03J 1 pm  (708) 574-6532           LAGRANGE,|L             01:00
                03140 pm
                         .{7Oa)Tl6-3252            FOREST,IL               0l :00
                03:55    pm   0Og)    574-4197    , LA GRANGE,IL   AU
                0423     pm   (312) 225-6200       lncoming        AU      0l:00
                04:23    pm   g0e)  200-1588       lncoming                01:00
                0451     pm   (773) 678-3906 ,     CHICAGO,IL
                04:55    pm   (312)T14:4512        lncomins        CWAU
                04sB  pm      678€906 CHICAGO,IL
                              (773)                                        01:00
                05:20 pmf/08) 600€525 lncoming                     AU      03:00
              0533 pm (708) 668-2937 lncoming                              01:00
              05:55 pm  (708) 510-0564 lncoming                    AU
              0620 pm   (773)808-4174 lncoming                             01:00
        Oct24 08:10am (407)947-9400 ORLANDO,FL                             0l    :00
              08:24 am  (708) 44e5176 LA GRANGE,IL
              08:27 arn (407) 947-9400 lncoming                            0700
                ossgam (708)600-3525 LAGHANGE,IL                           15:00
                 10:23am (708) 381-8063 OAK FOR SO,|L AU
               10:45 am   (708) 897-8160 lncoming                          0l:00
               10:46 am   (708) 465-0578 OAK FOR SO,IL      AU             01:00
               10:59 am. (708) 465-0578 lncoming
               11:01 am . (708)897-8160 BLUEISLAND,IL AU                   01:00
               '1117 am   (773) 507-5301 lncoming
               11r40 am   (708) 381-8063 OAK FOR SO,IL      AU
               12:17 pm   O08) 446-5176 Incoming                           02:00
               01:08 pm (4o1922-6on KISSIMMEE,FL

             # 01:18 pm
               0'120 pm
                          (888) 8i 1-5279 Incoming
                          (773) 746-0343 lncoming
                                                            AU
                                                            AU
                                                                          ,i01 :00
                                                                           ,Ol
                                                                                 :00
               0135 pm (312) 225-6200 Incoming              AU             02:00
               03:08 pm   (708) 985-5301 lncomins       'r.;AU             06:00
               O429pm _ (708)986-5301 lncoming
               04:33 pm   FOq 574-4]97 lncoming
               04:37 pm   ITOB) w4-4197 LA GRANGE,|L
               05:16 pm   (708)574-4197 Incoming                           04:00
               05:24 pm   (773) 936-4633 CHICAGO,IL                        06:00
               05:29 pm   (708) 574-4197 LA GHANGE,IL                      01:00
               06:57 pm   (708) 574-4157 LA GRANGE,IL       AU             01:00
        Oct 25 08:13 am   (800) 853-8516 Toll Free Calt                    06:00
               08l9am (770)789-8416 ATLANTANE,GA AU                        14:00
               08:37am (800)746-2936 Toll Free Call                        10:00
               08:49 am   (800) 274-6600 Toll Free Call                    43:00
               08:54 am   (708) 87e-1633 lncoming            CWAU          01:00
               09:48 am    (708) 465-0578 OAK FOR SO,IL                    01:00
                10sl am (708) 465-0578 OAK FoR SO,IL        AU             01:00
                10:04 am   (708) 465-0578 OAK FOR SO,|L      AU            01:00
                10:19 am   (708) 921 -8255 lncoming
                                                                                                                  Hate Type
                                                             AU
                1A:22 am   (708) 5744197 LA GRANGE,IL                      0l    :0O
                                                                                                                  ALI Anytime/Plan   Usage

                10:28 am   (708) 600-3525 LA GHANGE,IL       AU            03:00                                  CW Callwaiting

        Call Details - (773) 297-6519 - Voice continues...
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                                                                                                    Bill Period: Oct 03 Nov 02,2017
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           Ca! Details - (773) 297-6519: Voice ...continued

           On At                       To / From           Destination     Rate     Mins     Cost
                    10:48  am          (708) 465-05/8      OAK FOR SO,IL   AU       01:00
                    1l:00 am           (173) 469-7670      lncoming        AU       02:00
                    11:07 am           (708) 46il578       OAK FOR SO,IL   AU       01:00
                    I 1:11 hm          (708) 574-4197      lncoming        AU       03:00
                    11:50 am           (708) 921-8255      lncoming        AU       03:00
                    12:18 pm           (312) 462-9200      Incomirig       AU       14:00
                    12:51 pm           (708)595-5527       LAGMNGE,IL      AU       02:00
                    0l J3 pm           O08)    535-0077    lncoming        AU       0i:00
                    01:26 pm           (773)729-0324       Incoming        AU       01:00
                    01'27       pm
                            (708) 986-5301 Incoming      CW/AU                      02:00
                    0128 pm O73) 398-8702 lncoming       AU                         05:00
                 01:57pm (708)465-0578 lncoming          AU                         02:00
                 02:36 pm   1773)729-0324 CHICAGO,IL     AU                         04:00
                 02:52 pm   {708) 600-3525 LA GRANGE,IL  AU                         07:00
                 03:08 pm   (708) 600-3525 fncoming      AU                         03:00
                 04144pm (773)746-0343 lncoming          AU                         01:00
                 05:04 pm   (708) 574€532 lncoming       AU                          02:00
                 05:19 pm   (708) 446-5176 lncoming      AU                          02:00
                 05:20 pm , (708) 66e-2937 lnioming      CW/AU                       0l:00
                 06:33 pm   (708) 574-6532 LA GMNGE,IL   AU                          01:00
           Ocr26 10:00 am fiaq574-4157 LAGRANGE,IL       AU                          02:00
.                 10:07 am   . ,600-3525 LAGRANGE,IL
                            (708)             -- :       AU                          05:00
                  10:12 am  $Aq 211-4727 Toll Free Call  AU                          01:00
                    0l 3 am (800) 2114727 Toll Free Call
                    1                                    AU                          01:00
                  10:17am (708)203:2820 LAGRANGE,IL      AU                          15:00
                    0:52 am
                    1       (708) 200-1588 LA GMNGE,IL   AU                          01:00
                  '10:52 am (708) 600-3525 LA GRANGE,IL  AU                         '02:00
                  11Jg am 073)297-6810 lnboming          AU                          01:00
                  I l:51 am (708)600-3525 lncoming       AU                          01:00
                 .12'.07 pn  (708) 527-6530 lncoming     AU                          02:00
                  1211 pm    (708)527-6530 lncoming      AU                          02:00
                    12:I1    (708)595-5527
                                pryr                       lncoming        CW/AU     01:00
                    12:16pm (708)595-5527                  LAGRANGE,IL     AtJ       01:00
                    12:38 pm (773)808-4174                 lncoming        AU        01:00
                                                                           AU        02:00
                    0213             811d279 Toll Free Call                AU        01:00
                    o2:22pn (773)7464343 CHICAGO,IL
                    02:51 pm 00e) 668-2937 lncoming                        AU        01:00
                    03:33 pm I (773) 626-4367 Incoming                     AU        03:0O

           s        03:41       pm     (8eB)811-5279
                       pm (773)746-0343 CHICAGO,IL
                    04:01
                                                           lncoming        AU
                                                                           AU
                                                                                     01:00
                                                                                     01:00
                 0411 pm  (773)971-0429 lncoming                           AU        02:00
                 04:12 pm (708) 535-0077 lncoming                          CW/AU     01:00
                 04J2 pm (773)571-0429 lncoming                            AU        01:00
                 04:13 pm {773)746-0343 CHICAGO,IL                         AU        01:00
                 05:22 pm (773) 676-4367 CHlCAeo,lL                        at   I    19:00
                 06:03 pm O08) 986-5301 lncoming                           AU        02:00
                 06:11 pm (708)986-5301 lncoming                           AU        02:00
                 08:01 pm (708) 574-6532 Incoming                          AU        02:00
                 08:32 pm (708) 574-6532 lncoming                          AU        02:00
           Ocl27 08:08 am (70A)776-3252 Incoming                           AU        02:00
                     09.27 arn         (850)778-0851 . lncoming                                                          Ftate Type
                                                                           AU        07:00
                    09:4.1      am      {407)922-6077 lncoming             AU        04:00
                                                                                                                         AU   Anytime/Plan Usage

                        10:04   am      (773)   440-0651   CHICAGO,IL      AU        01:00                               CIV Call 0/aiting

            Cali Details - (773) 297-6519 - Voice continues..
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                                                                                                            Bill Pericd: Oct 03 - Nov 02,2017

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Call Details - (773) 297-6519 - Voice ...cantinued

On At                 To/ From             Destination           Rate         Mins           60st
         1A27am (708)776-3252 lncoming     AU                                 O1:OO       -----]]
         1027am (815)g4i-7949 tncoming     cWffi
         10:28 am (815) 341-7949 JOL|ET,|L AU                                 02:00
         10s3am 070)789-8416 ATLANTANE.GA AU
         11:16am -C/08)200-1SSB            LAGHANGE,IL                        02:00
         t1:20am (708)510-0564 CH|CAGOHTS,|L AU                               or:oo
                                                                                       ---------.
         11:23a-r, (773)ryGO34B cHICAGO,IL                 ffi
         11:26aT (SSB)81I-5279 ToilFreeGalt ffi
         ] 119    (708) 510-0564 tncoming       AU
               ".
         11:58 am (Z/3) 936-4633                AU                            02:00

             pm (773)7464343 lncoming
         12:39                                                   AU           o2oo
             pm (773)746-A3$ CHICAGO,IL
         12:45                                                                01:00
         01r40prh (407)947-9400                                               07:00
         01:42        (773)746-0343        lncoming                           01:00
                      (773)746-0343        CHICAGO,IL
                            494-6585       CHICAGO.TL                         01:00
         03:17 pm     (773) 746-0g4g       CHICAGO,|L
         03:20 pp     (888) 811-5279       lnioming              CW/AU        0 !:00
         03:21 pm     (773)746404s
         03:23 pm           746-0343
                                           CHTCAGOJL
                                           CHICAGO.TL
                                                                 AU           01:00
                                                                              02:00
                                                                                                        P
         03:35 pm
                        5744197 LAGRANGE,IL
         05:12pm (70g)776-3252 FOREST,|L
         05:35 pm (773) 398-8702 lncoming                        AU           O1:OO                 _
         05:39   pm   (7rc) 14
         05149   qm   (708)   574-4197     LA   GRANGE,TL AU             ..   o-*00
         0715 pm              574.6532     LA GRANGE,IL
         08:01 pm             494-6585
         09:03   pm   (773)   398-8702 lncominS                  NWAU         1Z,OO-------=_-I
         09:15        Q73)729-0324        CHrCAeo,tL             NWAU         06:00
Oct 28   09:3F   am   (708)   600-3525 LAGMNGE,TL                NWAU         05:00
         09:53 am             600.3525 LA GRANGE,IL              NWAU         05:00
                                                                 NW/AU
         l0:20 am             776-3252    FOREST,IL              NWAU         01:00


                                                                 NWAU         01:00
         l0:30 am             776-3252    lncoming
         11 :08 am             '11-5279   Toll Free Call
         ]]119   am   (708]-724:s7A9      tncoming
         11:11am (708)737-606e lncoming                          NWAU         02:00             -
           J 3 ani
         1 1       (773) 440-0651 CHICAGO,IL                     NWAU         15:00
         i1:28am (708)600-3525 LAcMNGE,IL ffi
           :35 arh
         1 1       (815) 341-7949 JOL|ET,|L                                   01:00
         11.32 um (708) s74-65s2 lncoming                                     02:00
         0236 pm (708) 574-6s32 LA GBANGE,|L
         0248 pm (708) s74-6532 LA GBANGE,iL                     NWAU         0100---------     _

         02:49 pm  (708) 574-6532 LA GMNGE,IL                    NWAU         Or ,OO-           -
         02:57 pm           --..
                   (708) 574-6592 LA GRANGE,IL                   NWAU         01,00             -
         OS:rO pm  (ZO
         03:42 pm  (708) 600-3525 lncoming                                                                                    Rate T'ype
         03:52 pm  (708) 574-6s92 LA GMNGE,|L                    NWAU         01:00                                           AU   Anytime/Plan Usage
         03:56 pm  (224) 336-20s0 NORTHBROOK.TL                  NWAU         07:00                                           CW Call Waiiing
         04:07pm (708) 574-6592 tncomins                                      02:00                                           hlW l{ight and Weekends

Call Details - (773) 297-6519 - Vaice continues...
                Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 59 of 78 PageID #:252


                                                                                         423 of 25

  W
-.-.Sprinf
                                                                                         Account Numb er. 1 521 27837
                                                                                         Bill Period: Oct 03 - Nov 02, r017




  Clt oaarc    - 073) 2s7-651s     - Voice...continued

  On At                  To   / From         Destination   Rate        Mins       Cost
           04l4pm ?73)746-0343                lncoming     NW/AU       01:00
           04:45    pm   (708)    495-0281    lncoming     NWAU        02:00
           06:14    pm   (708)776-3252       FOREST,IL     NWiAU       02:00
           06:16 pm         574-4197 LA GRANGE,IL
                         (7OA)                     Nw/AU               01:00
           06:42 pm         574-6532 LA GMNGE,IL
                         F08)                      NWAU                02:00
          06:45 pm   (708) 574-6532 LA GRANGE,IL   NW/AU               01:00
          06:46 pm   (708) 574-6532 lncomins       NWAU                01:00
   Oct 2s 10:56 am   (708) 200-1588 LA GMNGE,IL    NW/AU               02:00
          11 :31 am  (708) 600-3525 LA GBANGE,IL   NWiAU               15:00
          11 :47 am  {312) 414-9350 CHICAGO,IL     NWAU                01 :00
           r r'+e.m (siij ara-s
           't2JO pm (708) 921-8255 lncoming        NWAU                03:00
           12:s7 pm  (708) s74€532 LA GRANGE,IL    NW/AU               02:00
           02:15 pm  tt08) 5744197 LA GMNGE,IL     NWIAU               05:00
           02:39 pm  (s1 2) s99-8514 CHICAGO,IL    NWAU                01:00
           02:40 pm  (312) 599-8514 CHICAGO,IL     NWAU                05:00
           03:43 pm  (773) 766-4559 lncoming       NWAU                05:00
           05:26 pm  (708) 600-3525 lncoming       NW/AU               11   :00
   Oct 30 08Jg am    (708) 600-3525 lncoming       AU                  04:00
           08:43 am  (31 2) 599-8514 CHICAGO,IL .  AU                  02:00
           08:44 am   (708) 600-3525 LA GMNGE,IL   AL'                 02:00
           09:32am (708) 595-5527 lncoming         AU                  02:00
           09:33 arh (708) 595-5527 LAGRANGE,IL    AU                  03:00
            09:40 am  (312) 599-8514 CHICAGO,IL    AU                  01:00
            09:54 am  (708) 200-1588 LAGRANGE,IL   AU                  01:00
            l0:02 am  (708) 733-2266 CHICAGOHTS,IL AU                  01:00
            10:03 am  (708) 68s-7419 FOHEST,IL     AU              ,   0't:00
            1013 am   (708) 532-0937 lncoming      AU                  03:00
            l2:03 pm  (708) 668-2937 lncrming      AU                  02:00
          .12:11 pm   (nq789-U16 lncoming          AU                  06:00
            12:50 pm  (708) 689-7419 lncoming      AU                  0l:00
            01J 4 pm  (sl 2) 599-851 4 CHICAGO,IL  AU                  01:00
            01:41 pm  (708)574-4197 LAGRANGE,IL AU                     02:00
            a;qm-        -iseg


            03:05   pm    (708)   574-6532 Incoming        AU          02:00         -
            03:34   pm    (708) 600-3525                               01:00
                                                                       01:00
                pm (773) 898-4174 CHICAGOJL
            05:05                                          AU          01:00
          05:25 pm (708) 574-6532 lncoming                 AU          01:00
          05:29 pm (312) 599-8514 CHICAGO,IL               AU          02:00
          05:48 pm (773)971-0429 CHICAGO,IL                AU          03:00
          07:03 pm (708) 574-4197 LA GRANGE,IL             AU          01:00
   Oct 31 07:06 am (312) 824-9919 Incoming                 AU          14:00
          09:30 am  VoA) 574-4197 LA GHANGE,IL             AU          06:00
          11:07am (708)953-7999 lncoming                   AU          05:00
          11J5am (708)527-6530 lncoming                    AU          01:00
          11:55 am (708) 532-0937 TINLEYPARKIL             AU          07:00
          12:31pm (708)200-1588 LAGBANGE,IL                AU
          12:33pm (708)574-4197 LAGHANGE,IL                AU          01:0C
          12:34 pm  (708) 321-8255 lncoming                AU          05:00
          02:06 pm  (773)746-0343 lncoming                 AU
                                                                                                             Hate Type
                                                                       03:00
          02:41pm (708)574-6532 LAGRANGE,IL                AU          01:00
                                                                                                             AtJ   Anytime/Plan Usage

          03JG pm   (708) 495-0281 lncoming                AU          01:00                                 hlW Night and Weekends


    Call Details - (773) 297-6519 - Voice continues...
                     Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 60 of 78 PageID #:253

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                                                                                                                    Accouni Number; 1 521 27 837


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                                                                                                                    Bill Period: Oct 03 - Nov 02, 20'17




C1tt Detaits - (773)         257'6519'Voice ...continued

On At                            To /   From           Destinalion         Rate      Mins        Cost

          o3:34pm (708)26'3252 tncoming         . AU                                 01:00          (d,.        '

          ol:zt pm '(iso)  flsrea3z tncoming      ,qu                                ot-00          eF,
          04:48 pm (70s) 595-5527 lncoming        AIJ                                04:00          -

          b+,s2 p*   (407) s22-6oTI KISSIMMEE,FL AU                                  02:00

          o+sO pm fr/g) 746'0343 CHICAGO,IL AU                                       02:00          -
                                 (708)574-6532         LAGRANGE,IL


Nov01     09l5am                 C708) 600-3525        lncoming
          09:53         am       (312)    8il-8200     CHICAGO,IL          AU


          10:16arn               O08) 465-0578                             AU

          10:19          am      (n3l.971'9429         CHICAGO,IL          AU        16:00

          I   0i40       arn '    (773) 556-301 e      CHICAGO,IL          AU        01:00


          1121           am       O73)746-0343         CHICAGO,IL          AU        02:00


          11:44          am       (708) 921-8255 lncoming                  AU        05:00              -

              11:52 am                  510-0564 lncoming                  AU        01:00

              t 1 :57    irm      (708) 600-3525 LA GRANGE,IL              AU        01:00

                         am       OOB) 600-3525 LA GMNGE'IL
              11   :58                                                     AU        01:00

              12'.24              (708) 203-2820                           AU         02:00

              12i27       pfli    (7OB)   465-0578 lncoming                4!         02:00


              12t42pm (6Od) 474-7692 Incoming         CWAU                            1i:00
              12:55pm (708)595-5527 lncoming          AU                              02:00             -
              01:36 pm r(708) 600-3525 lncoming       AU                              01:00             :
              o1's4im  '-(zzs)goz-aooo  cHlcAGo,iL    AU                             'p5:00             -

              01:59 pm   (612) 402-1854 TWINCITIES,MN AU                              03:00
                                                                                      0l:00
          .02:29                                                            AU        01:00

              03:53       pm       (708) 600-3525       lncoming            AU        04:00

               04t    I            (850) 778-0851       lncoming            AU        11   :00

               04:40 pm            (773) 766-4559                           AU
               04:44 pm            (773) 766-4559        lncoming           AU        01:00


               07:35               (708) 532-2665
               10:05 pm                  3) 302-6519                        NW/AU      07:00

  t{ov   02    08:32       am -766-4559 CHIQAGO'IL
                                   (773)                                    AU         01:00

               09:17 am  (708) 580-7554 Incoming                            AU         01:00

               11 :28 am (773) 7664559 CHICAGO,IL                            AU        01:00

               12:18 pm  (773) 302-6519 CHICAGO,IL                           AU        01:00                -
                         (773) 302-6519 lncoming                             AU        01,09

               12:20 p$        474-7692 lncoming                             AU        01:00
                t2.22Wn (606) 474:7692 GRAYSON'KY                            AU        01:00

                12:26          574.4197 LA GRANGE,IL                         AU        02:00
                                                                             AU        01:00
                   l2:47            (773) 676-4367 cHlcAGo,lL                AU        01:00

                   12:49 pm         (773) 46s-7670 CHICAGO,IL                AU        01:00

                   12:51 pm         (773)6764367 CHICAGO,IL                     AU     02:00
                                                                                AU     04:00                                               RateType
                   01 :08pm         (708) 921-8255        lncoming              AU     03:00
                                                                                                                                           A.u    Anytime/Plan Usage
                   01l6pm           (773) 302-6519        lncoming              AU      01 :00
                                                                                                                                           CW     Call Waiting
                   01:59 pm          (217)782-1283        lncoming              AU      03:00
                                                                                                                                            SIW   Night and Weekends
                   0233 ijm                  811-5279     Toll Free Call        AU      G1:00



    Calt Details - t773) 297'6519 - Voice continues-.'
                          Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 61 of 78 PageID #:254
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.i   -''''sprint
                                                                                    Account Nurnber: 1 521 27 897
                                                                                    Biil Period: Oci 03 - Nov 02i 2017




        ceil   Details - (773) 297-6519   - Voice ...cantinued

        On Al                  To /    Froni          Destination



t                                                                      AU
                  05:53   pm   (312)   296.6799       CHICAGO,IL            03:00
                  06:29 pm     (708)   600€525        LA   GMNGE,IL    AU
                  06:52 pm     (708)   574-6532       LA   GRANQE,IL   AU   01:00

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                                                                                                        Rate Type
                                                                                                        AU AnlrlimeFian   Usage
                     Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 62 of 78 PageID #:255



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                                                                          Contact Us                                                                  l of S
 W       SRrinf
                                                           ffit           sprint.corn/contractus      t*   r-qaqgrr;a7zz
                                                                                                           ('2 from your,sprint Fhone)
                                                                                                                                                     Accorqf l!qm!-e r : 1 5-pL2! pp7
                                                                                                                                                     Bill Period: Nov 03 - Dec 02, 2017



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     i Last Biil                                                      I

                                                                      i       This Eill                                                         Total Amount Due
            Previous Total Due                     $170.09                    Aocount Charges

            Payment on   1   1/14 - Thank         -$171.00                    Plans & Equipment
            youl
                                                                              Sprint      Surcharges                         $9.94
            Balance Forward                        -$0.91                                                       _._-_--__--*i_                  Let's talk
                                                                              GovernmentTaxes &         Fees                 $S.0S              ah@ut tfiris     b!fl1

                                                                              Total Charges this Bill                                           You made changes to your accountthis
                                                                                                                      $170"S2
                                                                                                                                                month that can lmpact your bill total. Here's
                                                                                                                                                what happened;
                                                                                                                                                .   Based on 3 months of plan usage, a new
                                                                                                                                                    Historical Usqge Graph section has been
                                                                                                                                                    added to this invoice.
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     *H                                 (*                                                                                                                                                                   i




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               PayOnllne
              sprint.com/myspfint
                                             P"ybyPhone
                                             1-800-784-2608
                                                                                           ffi   PaybyMall
                                                                                                 Return the form belowwith
                                        "    (.3lromyqurSprintPhone)                             a check payable to: Sprint


         Please see the News and Notices secilon on page 2 fer irnportant informalion and changes to Sprint's
         policies.
                                                                                                                                          tWi
                                                                                                                                          i Oct                          Nov                Dec              I




              F0 Box 629023 El Dorado Hills, CA 95762                                                                                   0etach and return this remittance forrn with your payment.
                         -€                                                                                                      Make checks payable to Sprint in U.S. dollars. DO NOT SEND CASH.
                                                                                                                                                                       Account Number 1 52177831

              sprintp"                                                         Scan to pay            Amount Due by Dec 26

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              P0 Box 4191                                                                                                                                                           I    u,s.eosnce i
              Carol Stream,        IL   60197-419'l                                                                                                                                 I PAID               I

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                     Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 63 of 78 PageID #:256


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                                                                                                                                Account Numb er i 1 521 27 837
                                                                                                                                Bill Period: Nov 03 - Dec}z, 2017

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     aail Details - (708) 574-6532 - Voice ...continud

     On At                    To/From                   Destination               Rate            Mlns               Gost
                04:02 pm (312) 88$3227 CHICAGO,It                                 NWAU
                04Og pm  (312) 8893227 CHICAGO,IL
                0428pm t/73)297-0S19 lncomins                                     Nw/AU           01   00
                                                                                  Nw/AU           01:00
     -_-...,....._91'{g_p*___l?3)32-2s?5.___lryIn!-g_.


     Oall Details - (77g) 297-6519 - Voice
     Orn        At            To I From                 Destlnation               Bate            M!ns               Gost
     Nov   03   08:44   am       600-3525 lncoming
                              (708)                                               AU              (X:00
                08:53 am   (708) 600-3525 LAGMNGE,IL
                0930am: fZ3)302-6519 CHICAGO,IL
                09:32am (708)600-3525 LAGRANGE,IL                                 AU              01:00
                09:.14 am  (606) 474-7692 lncoming

                ll:!-9lm (708)4e10ry__!Ig9rug__=.-                                AU __           0400
                11 :37 am  tl73) 808-4174 CHICAGO,IL                              AU
                11:49 am   (77q8084174 lncoming                                                   01:00
                rl:s7am (708)e2LBss --'--I.oglg ___j_                             AU              1030
                12:07 pm (312) 8&4-8200 CHICAGO,L                                                 01:00
                12:13 pm   (612) 402-1854 lncoming                                AU              02:00
                1z,1seni-- (612)402-1' 1ffi;; -                              .    AU              03:00
                12:29 pm   (312) 63e0000 CHIGAGO,IL                               AiJ             OS,OO



                                      :ii1:i-"5279      Toil rreir oatl,::


                01:35   pm    (708)   381-8063          OAK FOR       SO,IL AU                    02:00                  :
                02:35   pm    (708)   595-5527          LA   GBANGE,IL            AU              .02:00

                93:36   iT-   998)19$.9?9_1._,__-$           9IlI9E{L-_-_-.._jg                   01:00
                02:37 pm              495-0281           lncoming
                                                        Toll Free Call                            01:00
                              (n3i
                03:21trm      (708)   381-8063           OAK FOR      SO,IL       AU              01 :00
                03:22   pm    (773)   746-0343           CHICAGO,IL               AU              02:00

                9!:41 pS __._jrc_) r9?:rE9__.._
                                                r*Uits_._.                        AU              01:00
                r+-.s!g1     00e) 57+:99p:__ ]{9!41!9E&                           AU              01:00
                05:03 pm      (708)   600-3525           lncoming
                07:1s pm -,€. (606) t11:19??   ..   . . . tLgqf,.lq   .
                                                                                  AU              06:00
                07:25pm (708)600-3525                    LAGBANGE,IL              AU              03:00
                08:45   pm 846-5176
                              (708)                      lncoming                                 02:00
     Nov 04 08:26 am (708) 495-0281                      lncoming                 NWAU            01:00
            08:35am (708)495-0281                        LAGHANGE,IL              NW/AU           01:00
                qq,s6q__148)200-1588_-                   LAGRANGE,IL              I.IWiAU         oi oo
                09:20   am    (slz)   972-9016           CHICAGO,IL
                09:37am (708)600-3525                    LAGHANGE,IL                              02:00
                t0:05am (606)316-0203                    lncoming                 t{WAU           02:00

                1l.i9l3r_     (773)469-7670              lncoming                 Nw/AU           01:00
                11:16  am     (708) 446-5176             lncoming
                11 :55 am     (773) 746-0343             CHICAGO,IL                               0l:00
                '!1:569m. (708)381-8063 OAKFOBSO,IL                               llWiAU          0200
                1].:szgl._1199.600-1535-*_--_!4-qi4ry-9E/L-..--_-t\Yv.I.lq'-...-,-                .9-!j91.r._   -,   ,_.*_:

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                Lr.rtp--e9-9q9.-ry-1i.-i-{-q4g0ilr'-,]. ---.e,ipl-."----:;                                                                         Hate Type
                12:57 pm (7os) 381-8063 OAK FOR SO,IL NWAU 03:00
                                                                                                                                                   Au
                q_i;gi_e.I---_?7itg!i5qe_e:_:liri"rir.'--- ._-_ _                :jy,t      __-_ _-r,*__ _.: -___,
                                                                                                                                                        Anytime/Plan Usage
                                                                                                                                                   NW Night and Weekends
                 9l11ry-.--908)"9P.-g?1.--..--!ee,,p--
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               9.1I9..F'n__170!Il1!:0291____S_9!4I_qEjrL    .. ___l!y!l_u=-"__.
      Call Details - (773) 297-6519 - Voice continues...
                    Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 64 of 78 PageID #:257
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     . Sprinf
                                                                                                                                                               Account Number 1 52127837
                                                                                                                                                               Bill Period: Nov 03 - Dec0,z,2017




      Aall Details -   (nq   n7-6519 - Voice ...continud

      On At                   To /    From          Desflnation                            Hate      MIns
               0124                    574.6532     LA GFANGE,IL                           NW/AU
               01                     .811.5279     Toil Fie'€                                       01:00
                                      81 t:5279     Toll FIee Call                         Nw/AU




               99j2j..ry- fm)         74€-0343   _Ie.,!.s___-_IUng
                     pm (708) 5744197 LA GRANGE,IL
                                                                                                     01   s0
               03:57                                 NW/AU    01:00
               9g1gt_Jl08Efj.g_._ rEgrug-_____-_=Nlv/AU 0.!:00
               04:12 pm (708) s9$ss27 U emrueE,rl -- NwAu--OritCI
               08:59 pm (708)s7+6532 LAGRANGE,TL NWAU         0200
               10:lcsp{L_     908)s74{532 !lgd!g-____U(Lq                                            01:00
      Nov05 09:52am f/08)574-6532                   LAGMNGE,TL                             NWAU
               .'..',,,,"'--
               10.01am C/08).f46-5176               LA   GMNGE,IL                          NWAU      Ol OO
               10:02   am (866)       633-5293      Tott Free    Calt                      NWAU      0200
               g-Lsft .-._r9-r"2f     gtgig;l_q-__Hiieg.[.-W---: -
                                                             ---
               gg!91!.__9l81!1ryL9____lgnry[r-a_ rl-weu------ni]i0                                                                -
               03;37 pm (773) 746t343 CHtcAGO,tL
                                                   .MilAg_.. 0l:g!_.__-._                                                        :
               03:44 pm (708) 57+6532 LA GHANGE,|L NWAU 02:00
               93.56_pl1__i?!i 3103,{!__cH lcAco                 J   L                     NWAU      0l:00
               -
               g$li. _00!Il9l:!913_                 oAK FoR      so,tl NWAU                          0so0
               91.31
                       pm t?0815?+Es                                     L                 NWIAU     04:00
               04:47   pm     (312) 599-8514        CH|CAGO,IL                             NWAU      04:00
               04:55   pm     (708) 574-6532        LA   GHANGE,|L                         NWAU      O1:00
               04!!eT*:-jql9-s$.:.9!i-1-_._Sl9,l9_o_t!                                               01:00
                  !q99!ll__99.994119.t .__js-qrg                                           NW/AU     01:00
                                             ,   NWAU
       .-_._"-_ -"._gilg!lt! ,el_2lg?29q16 _, cHtcAGo,tL                                             02:00
      Nov06 09:41 am__(8742.184263 __IqlrrqqC"il AU                                                  iso0
               10:01 am (843) 620-2739              lncoming                               AU        01:00
               1028am (708)532-1199                 TINLEYPARK,|L                          AU
               !0:41 am (708) 532-1199              TINLEYPARKIL                                     0200
               10:49 am (708) 381-8063              OAK FOH SO,|L                                    01   00
               10.5k{L_lz.3rl1gg1q____ rug4qo_,l!                                          AU
               11,1
                    s-gl -:s-!q99i18-ry.8-q=---I"lt'q9e1                                             24:00
               1216    pm     556-3018 CHICAGO,|L
                              (7/3)                                                        AU
               12:20 pm (7OS) 6b8-2937 CH|CAGOHTS,L                                        An        02:00
               0216pm (800)745-2936 lncoming                                                         03:00
               02:45   pm     (312)   82+9319       lncomins                               AU        15:00



               03:30   pm     (gBt)   271-8925      lncming                                AU        01:00
               03:31   pm     (312)   972-9016      CHICAGO,IL

               9.3i!J-$__..119-8.)-9I11!_11.__.._.!s.r[e                                   CWAU      04:00
               91.._5_?.p.._ j9-1?_811s_1.9___,_!99T1!9
               9l.!9!ll.-.-_qqL6.99.2991.-._-!E'nt!9__                                               01:00
               .o--+:ll-qt*-.9!)-s-93:9!!9___.--.llen,ry_._                                          01:00
               04:24pm (773)902-8060 lncoming                                              AU        01:00
                      pm                                                                                                                                                          mate Type
               04:25          (708)574-6532  lnclming                                      CW/AU     01:00
               04:,t4 pm      (773) 808-4174 lncoming                                      AU                                                                                     AU   Anyrjme/P{an Usage
                                                                                                     01   :00
                  pm
               04:56          (708) 574-6532 LA GRANGE,|L                                  AU        0l:00                                                                        CW CailWaiting
               062-G;*-       6tb'i iii tt'rs
                                              -'-r.rr Fdc;r                                AU        01:00      s",                                                               $0W Night and Weekends
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                                                                                                                r-\gi---------   ---



      Call Details - (773) 257-6519     - Voice continues...
                           Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 65 of 78 PageID #:258


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                                                                                                                                    Account Numbeti 152127837
                                                                                                                                    Bill Period: Nov 03 - Dec}z"2017
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i
        Gall Details - (773) 297-65t9                -   Voice   ...continud

        On At                           To/From                     Destlnatlon     Rate          Mins                  Cost
                    10:17       am    957-5107 CHICAGO,TL AU
                                        Cl73)                                                     01:00
                    10;36 am
                    luiub       (708) 921-8255 SUMMIT,IL
                                (/oB)           SUMMTT,IL    AU                                   01:00
                                                                                                     JV

                    l_1_,0e.1,_-99!LI 0-q!q._-.._-llsrrg__   AU
                    11:12 am (312) 863-2800 lncoming         CWAU
                    11 :14 am   (312) 863-2800 CHIOAGO,|L                                         05:00
                    11 :30 am   f/08) 668-2937 CH|CAGOHTS,|L AU                                   02:00
                    11:32 am
                              _(23) 55S3018 CHICAGO,|L       AU.
                    llq4 3I:, r0!)ggLlsi!-_.*11 qE{!g.E!!    AU                                   03:00
                    1225                (708) 510-0564                              AU            03:00
                    12:29 pm                    971-0429.           CHICAGO,|L      AU            02:00
                    01:02!m             (708)   510-0564            tncoming
                                                                                                 _!!99___-__.:
                    91'gur__gELz&!2s2-.____I-g!!i$g                                              *9?:_og-__           ___
                    02i05       pm      (773)   74&0343             tncbming                      03:00
                    ofu,        Gr--
                                fi--(Bsa)   F;;;c"li-* - AU --- --0r ,00--.- ---'-- -
                                                Bl
                                     -rorr
                    sryr-rs--G-o!)i@L--illlle*a!_--____t:_*___a::e_l---__,
                    02i16l!.-'--!170!L1_s5js527                     tncomins        AU
                                                                                             ---91loo-.-___-__i



                    10J6        am      lnq789-84 16                ATLANTANE,GA    AU            01100
                    10:27       am     (773)    746-03!ti}          CHICAGO,IL                    01:00
                    10:27       am     (708) 381-8063            . _oi5IO,!1SO,tL   AU            01:00
                                                                  -
                    l-q
                          :28   em :,_][1ll14gggl_3_---lryIlg                                     01:00
                        am (770)789-8416 lncoming
                    10:28                                                           AU            '11:00
                    11i22am (773) 507-5301 lncoming                                              . 0aS0                     '
                                                                                    [U                                          -
                    11:44am,
                    I r:ffi dtr, (708)668-2932
                                 t/u5, oo.r-zvsl uFltuAuuH ltt,lL -
                                                 cnrceooiiSlL                       AU
                                                                                    AU    -'-=    0i,io---*--'-*-
                                                                                                  01 :00                        -
                    91i32          98&530r tncomins
                                p!tj-g_o8)                        AU                              0t oo
                    02,21II---iF.9lg!-?132-
                    02:27 om  (8661 3'f6-24?2 Tall trraa flall
                                                               _.__{ut                               6^
                                                                                                  oroo
                                             -LgLig..tar
                   ' 0227 pm laee; Ar t -SZZS Tott Free jll ----AU^t                              ^{
                                                                                                            -'-'"   -***- -:
                                                                       --_---  C                  0t   f0
                    03:44pm            (708)    986-5301            lncoming                      02:00
                    03:46       pm     (708)    737-6068            tncomins        AU            0l:00




                    9--5-11-1gl_q0._a|€$?9_1_ LAGRANGE,TL                           AU            1e:00
                   _o!;31p, _-:s1199-).9_6!lg?9                  _ llcom!ry         AU            00:00
        Nov   l0        am (800) 27+6600 Toil Free Call
                    08:44                                AU                                       13:00
                        am (800) 909-9525 Toll Free Cail
                    08:57                                AU                                       08:00
                    ,0!L-sjI__!10Q_162-jqs RtvERStDE,tL AU
                    p.gg; _jEplgog:g!r.!_1. LAERANGE,iL ---AU -- *---dod----**--:
                                                                          01:00


                    ro,ss". iaoo)so.s€5rs_--T.lt;c"t-i--*-lu ----- osso--'-' "-"-
                                             roltFree catt    AU
                                          :-cHtcAcoiliS;i't-*-Au-----*-*n
                    lL9t11_-__811X1l1-?-83_                               03:00
                    11:s6am (?08t668-iiai                                                              d0-*-*-*---"-
                    1?i0_1'p_L_-,._gg8ll9t?!_9]_.                   tncomins*-*-Ail---*--6ro0-*"-----:
                                                                                AU        0r:00
                    tal1u__-g9lLl99:.eA--i!-qe416-.
                    12i32pm (Booisos-ss2t--ffi'rils ---".-"--ruj--------neiitd------"--:
                    i?11,p9 {7o8) 668-2e37 0HIoAGOHTS,IL AU              01:00
                    01:32 pm (312) 972-9016 lncoming         AU          02:00
                    9111_pe__lr-q) tlo_g€ . *. _ r!!glao-,I!:                                     01:00
                    02:42       pm (nq746-0343                      Incoming        AU            01:00
                                                                                    Air                                                              Rate Type
                    9i.:ls-er---Q1?j13-l!l-6-.--.-9119199,1!'                                     01:00
                    06:32       pm     f/73)    5624059             CHtcAGO,tL      AU            02:00                                              AU AnwimelPlan Usage
                    9q{9_p9-         _-.112q)-q-6.3:-4919._.._,     Ery*ing         AU            02:00                                              CW CallWaiting

        Call Details - (773) 297-6519 - Voice continues...
                Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 66 of 78 PageID #:259


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                                                                                                                       Account Nu mb er : 1 521 27 837
                                                                                                                       Bill Period: Nov 03 - Dec 02, 2A17




,   Call Details - (773) 297-6519 - Voice ...continued

    0n         At               To / Fronn           Desllnation            Rate                 Mlns           Gost
               08:10     pm     (708)    57+6532     lncoming                                    01   00
    Nov   11   12:49     pm     (708)    921-S255    lncomins               NWIAU
                        (708) s7+6s31_._-US!$!gqL
               gi:jlg!rn__                                                                       02:00
               02:3spm, (zi)'so7-530t _-__!Sgf,!S                           T.IW/AU              01:00
               04:o4pm (23)s97{3ol ---lffi;i.s -"*
               0457  pm__ (708) 57_19532 _ lnmming    NWAU --- 0t:00
               [urg!g-- (r*)st+ds:sz-- ,iGMNGE;ii:--- NWAU     0t,00-----"-.                                       :
               9$!rs_--lzo!).!Zt1l9z--__F gE{!qU!     NWAU 01:00
               05:51 pm. (7081776-3252 FOBES r,L
               _---_-                                 NWAU     olso
    Nov'12     08:48am (773)!0?j991___ tl1lQlqq&                            NWAU                 01   00
               0920      am     (7rc)    507-5301    lncoming               I{WAU                01   $o
               09:29am (773)507-5301                 lncoming               I.{w/AU              .02:00
               06:28pm (708)574-6532                 LAGRANGE,IL                                 0l o0
               06:38 pm       336-2030 lncoming
                                (224)                                       NWAU                 04:00
               07:14 pm (312) 5S9€514 lncoming                              Nw/AU                04:00
               07:18 pm (708) 574-6532 l-A GRANGE,IL                                             03:00
               07:26 pm (773) 440-0651 CHICAGO,|L                           I'IW/AU              03:00
               0729pm (708)57+6532 LAGRANGE,IL                              NWAU                 0l:00
               1z.sof g__-(/ss.I54f$1_..*89t1t1!q                                                02:00
                  pm (773) 440{651 CHICAGO,L NWAU
               07:32                                                                             0100
               9z#!Lj?31.1s_1-39.q1_._]!se!Llq NWAU
               _01:4!lg___ggqjztl53*2._-.:nemifs____*__Iy4g**_'-.9q,s0*::__
    Nov 13     y:!z_y_                         __. tr-n"q                   AU                   02:00
               08:08     am     (708)    600-3525    lncoming               AU                    12:00
               08!kt-_1109i90-1!3!. !l9IlIeEj!-__ 3g_-__"..05!_q
               !!EA__jr3Eg6sg__ lncomins                 _ . 02,90 ,,
               1I:01 am (312t7744912 CHICAGO,IL             ; 01:00
               1l:14 am.   .    (773)    556-3018    lncoming               AU                   01   00
               1.1..24   am .   (708)    92'l-8255 lncoming                                      07:00

               9111e.-                  g,!.31f--=IqlFcg!el!                AU                   01:00
                                                                                                 01:00


                                                                            AU
                                                                            Cw/AU
               9?39.!-T_--_(z?_3_11_6.9.9L__*-c]llglgq&                                          01:00
               04:34pm (708)446-1280                 lncamins               AU                   02:00
               9g9"p3s_-l70Q.gg,L2gq_,_ lqeerile                                                 01:00
               06:06pm (773)297.6503                 lncoming                                    01:00
               06:07pm IZZSfZSz-OSOS CHTCAGO,IL                             AU                   g?og
               06:09pm (407)947-9400 ORLANDO,FL                             AU                   05:00
               06J2 pm (407) 947-9400 Incoming                                                    13:00
    ii;;i;     '08:t1    am     (866)316-2432        TollFreeCall           AU                   01;00
               q8il?.sr--gglltlglg.*_-_l_qllLre.:_9-{1"._.          _._.. ..._4!_   __ .._.. -   01:00

               9:11.1|I-__l9g)Jl.1_9{9---=-_Elr,":9slL_____irr__                                 01:00
               08:13 am (888) 811-5279 Toll Free Call                       AU                   01:00
               09:03 am
               09:03am  (708)776-3252 FOREST,IL
                                       FOREST,IL                            AU                   01:00
               09:06 am
               09:06    (407) 947-9400 lneoming
                                       lneomins                             AU                   05:00
               0s!93 !L____9?3)l!l-659_I_-.._]l99j]u1s                                           04:00
               09:30 am (773)676-4367 lncoming                              CWAU                 01:00
               09:32 am (773) 675-4367 CHICAGO,IL                                                01:0o
                                                                                                                                          Rate Type
               09:33 am (773\ 494-1729 CHICAGO,IL                           AU                    01:00
                                                                                                                                          AIJ   Anytime/Plan Usage
               99j993r..__      _12.911911I?9 ___c-L!9{99r!!_"_*.__ . ly_ -          ._   ___, _9-q'00,
               09:42 am          (773)   676-4i167   lncoming                CWAU                02S0
                                                                                                                                          OW    Call Waiting

               09:44 am          (708)   762-6679 RIVERSIDE,IL AU                                 01:00    '-                             NW NightandWeekends

    Gall Details - (773) 297-6519 - Voice continues...
               Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 67 of 78 PageID #:260


                                                                                                            412 of {8

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                                                                                                            Account Nu mb er i 1 521 27 837
                                                                                                            Bill Period: Nov 03 - Dec02,2017




Oatl Details - (77g) 297-6519 - Voice ...continud

Orn At                       To/ From                Destinatlon           Fate        Mins         Cost
NovlT 09:15am f08)762-6679                           lncoming

           10,591I___q0!l!31tr1___,_.tss!$gE!L_...__4!
           u,pi        s.__(re) ffjts-__ _9!19199-,1!                                  0200
           11    :39   am (708) 5744197 lncoming                           AU          0200
           1221        pm (708)574:41s7.*_.!4929E:L                        AU          01:00
           01    29          (407)947-9400           lncoming                          09:00
                                      ett.Szzg                                         0t 1)0


           06:17 pm-. (Zq) 7116-0343 lncoming _.      AU _                             04:00
           06!91._._gz9_1f -0943__-_9t'lci99J_L__ *_* .19_
           06:47pm           (7/3)    494$585        CHICAGOJL             AU
           0721        pm ; (773)3.14-5962           CHICAGO,IL                        01:00
           07,32$__90..9)Zj:9352__._!9EE"sLl!,                             AU          0is0
            pm (773)746-0343 CHICAGO,IL
           08:11                                                                       0l:00
      08:45 pm (773) 746-03,ti, lncoming                                   AU
NovlB 09:10am (708)737-6068 lncomins                                                   0t:00
      l!!t*___(0j[9?-s98_ ..jEuML_                                                     0'l:00
      10:55 am O08) 737-606S lncoming                                      NWiAU       01:00
           11:07am  . (407)9?2-8077 lncoming
           0132 pm (708) 574€532 lncoming                                  NWAU
           02:11 pm (708) 574-6532 lncoming                                  NWAU      0t :00
           oz:ilo pm (Bsd).ali -5279 tncoinins                         '
                                                                           ' wweU      el o0
                     '
           02:39 pm. fl73) 34+6962 CHICAGO,IL                                NWAU      01:00
           03:31pm (708)574-6532                     LAGRANGE,IL             NWAU      01:00
           04:0E       pm    (773)    344-6962       CHICAGO,IL                        01:00
           04:11pm (40719?2-6077                     KISSIMMEE,FL          NWAU
           04:21       pm    (7"rc)   344-6962       lncoming

           91.1181__11Q.93?:90?I_-_I,9llt1lLEEIL__._                     Nry/Au 01:00 ------
                                                                      --NWA[--ir'ii0-
           0-o2il            $onsiz-6oi,-xrssrurr',reeri
                              t------'
                                                                                                        -
           p.!:ogp_a.___!izg9jryl532             _llelllgE,rl.___.NWAU                 o2:bo
           0718        pm    (708)    574-6532       LA GMNGE,IL
                                                                      __lty.4!_    _ __9L0i.__ _ _. ____:
           0814?       pm Wgr746-a34€                CHICAGO,IL
                                                                           NW49----*--9-1IE----..-.--.:
Nov19 10:00am (312)414-9350                          lnc-oming             NWAU        01:00
           l1:tO       am    (312)    414-S350       CHICAGO,IL                        01:00

           !I1qer_,_gE).111-e!_q9_._-_..1!.prr'!9_."..-_.".                NWAU        01:00

           E'.q.P..--191!l-4-1.-4:9-9!-0.---g-!l$q9-&                                  0'l:00
           12:58pm-.s     (23)746-0343 CHICAGO,IL                          NWAU        01    00
           01:00       pm (88e) 811-5279 Toll Free Call                    Nw/AU
           iis   se    d- -on )8tt5606 ---cinCAGoJ               L         NWAU         01   s0
                                                                           NWAU        08:00
           03:47       pm    (708)    574-6532       l.A GRANGE,IL         NWAU         04:00

 .__"__..!99?!L__03tf 11991!___cxl9$99&                                                 01:00
Nov   20   07:59       am    (773\    746-0343       lncoming                           01:00
           08,t_5_1*_'1219?0ll1q8*_.=_1ry9I[9___                                        01:00
           08:58       arn
                         469-7670
                             (773)                   CHIoAGO,IL                         02:00
           1021 am (4O7) 922-6077                    lnclming
                                                     LA GBANGE,IL                       02:00
           ]!!9_?!"__- r09jq-3539
           1    1:53   am                . CHICAGO,IL
                             (773) 746-0343                                             01:00

           1_2gl'n-__        .(4gtrrrj99l1_! *ryIg___.                                  02:00
           1236pm (888)8i1-5279                      TollFreeCall                       01:00
           12:36 pm (888) 81 1-5279
            r2:37      pm    taeel'Clr-szzs
                                                 -   Tpll Free Call
                                                     roit rree catt
                                                                                        01:00
                                                                                        01:00
                                                                                                                               mate Tltpe
                                                                                                                               ,At!   Anytime/PlanUsaga
            13j-sl.n.__-.9Q.8,1_1-s21r_.._I9.llJl9:_cjl!
           01:30       pm    (7/3)    676-4367       lncoming                                                                  hlW    Night and Weokends



 Call Details - (773) 297-6519 - Voice continues...
           Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 68 of 78 PageID #:261


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                                                                                                                                Account Numb er. 1 521 27 837
                                                                                                                                Bill Feriod: Nov03 - Dec02,zOfi




,Call Details - (773) 297-6519 - Voice ...continud

Osr At                    To/ From                Destlnation                   Rate                    Mins          Gost
          01:36pm         921-8255 lncoming
                          (708)                    Cw/AU
          02:55pm   (708) 921-8255 lncoming
          02.:56 pm (708) 921-8255 SUMMIT,IL
          ggE!a-.-fl3) iZ9{91---- cll9l99l!_ ____-4q-___--__g:ry_- __                                               _ _-....:
          0315 pm (7/g) 302-6519 CHICAGO,IL        AU



          03:23    pm (646) 517-4147              NEWYOBK,NY                                            01:00
          03:47 pm  . {nq 494-1729                lncoming                      AU
          03:56    p,   __!1Sltl:915i__!p_!!99                                                          01:00
          04:'16pm            983-6500 Incoming
                          (708)                                                 AU                      02:00
          05:11 pm      {773) 440-06s1 CHICAGO,IL                                                       17:00

          .qI25 !,,!*,__(38) s!18?91 *-_Egrin
                                              g                                 CW/AU                   01:00
          05:27    pm     (708)    921-8255     . SUMMIT,IL                     AU
          05:34pm (23)74-6-0343__.*9$9AGA,LL-_-_-__4q____,_ g.9o
          06:20    pm     (?Erc)   746-0343 lncoming                            AU                      0100
          06:26    pm     (800)    274-6600 Toll Free Call                      AU                      gt:99--,.
                                                                                                                    ------:
          06:26 pm        (7731746-0343           CHICAGO,IL                                            O3:00
          06:32 pm        (773)    746-0343 lncoming                            AU                      07{)0
          07iry.L__(zxllq-m€---_.cHIcAGoA                                       AU                      02:00
          07:4tl   pm     (815) 341-7S49          lncoming                                              02:00
          08:31    pm     (7/3) 746-0343          CHICAGO,IL                    AU                      04:00
 Nov21    07:00    am     (708) 921-8255          lncoming                                              03:00
          07:10 am        (770) 789-8416          Inclming                      AU                      16:00
          07:25 am        (407) 947-9400          lncoming                                              12:00
          08:20 am   (773)746-0343                CHICAGO,IL
          08:23 am : (7/3) 746-0343               OHIGAGO,IL                    AU                      0300
          9_9.4-el!*._(-891_8_?9:!3!8_-____rollFree_call
          09:36    am     46S0s78 OAK FOB SO,IL AU
                          (708)                                                                         01:00
          09:37    am     65ri-0976 CH|CAGO,|L AU
                          (312)                                                                         O3o0
          09:il6 am f/08) 465-0578 OAK FOR SO,IL AU
          09:54 am (708) 668-2937 CHICAGOHTS,IL AU
          09:56 am (312) 972-9016 CHICAGO,IL     AU
          10:18 am  (407) 923-4961 lncoming      AU                                                     04:00

          !3:93_pi___q99_931!3_si-___]lPlqe._"_*-.__._=au*___                                           01:00
          12:40  pm (312)217-8769 lncoming                 AU

          9l :zZ pns._llE) il199_33-*_]!corllg-_.'.._ ____ iy-
          01:29 pm (708) 921-8255 lncoming                 CWAU 01o0
          01 s? pr-=lr0frrrizss*..: s=ul,tilrr,rr-- -.- -AU --*--- mno'--'--',-"--

          91.sltlJlQj.99:7j20__--!t 91{!!95J1 . .-*_lU___L2,09__._____:
          0z.:ozpm._*(n1_11q9-q9_9i!!919_ojll                                                           0l:00
          oz:9!
          02:16 pm
                   ry-    rzs) ++o-96s1-
                                   811-5279
                                                                   ._   ___   _.19_ __        __   ._
                                                                                                        q199- __*-.___._
                          t888)          ---c-t1l-c499ilL
                                             lncoming
          04:17 pm        (708)    762-6679 RIVERSIDE,IL
          9li3_9!.ll-.__q-0_8"1_9!9:!-qql.___!!9ul9_..____. _ "-_""1_u__ _._.. -.. -_0_!.._0_1.._.-._.-.._ ., _:
          99:2.1.9T" --.908)"999:I-3s1..--.... !rr-ry1"g.--. _._-_"."__..1u_. .__._ . __....9-199.*.-._._.,_..,._.__.._
          05:39    pm     (7'/3)   746-0343 CHIOAGO,IL                           AU                     03:00

          99,01![.._-]Ii_lls79:1_e_1!.      _,    E!9Mg                          AU                     10:00
          08:14    pm     (773)    746-0343       CHICAGO,IL                     AU                     05:00
 Nov 22   919-es.--l?.911-6_9119            ._ " .".9H
                                                         r_caqoA   __   _..-. ..- 1!l   ___   . .,,_.
                                                                                                        qiq9,"
          07:03    am    947-9400 lncoming
                          (407)                                                  AU                     11:00
                                                                                                                                                  mateT'ype
          07:08 am (773) 746-0343 lncoming                                       CWAU                   0l:00
                                                                                                                                                  AU   Anytime/Plan Usage
          9lil-13T---tZ.l-1.74q--q91-                               ..--""..-.... ..9.?.,9..0- --
          07:29    am                     CHICAGO,IL--4-u-
                          (773) 746-0343-c.l:!l-c-19-o..:ll-.---- AU                01:00 '"                                                      CW CallWaiting

 Call Details - {773) 297-6519 - Voice continues...
                      Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 69 of 78 PageID #:262


                                                                                                                               414 of     '!8      .
                                                                                                                               Account Nu mb en 1 521 27 887
                                                                                                                               Bill Period: Nov 03 - Dec Oe 2017

-''   Sprinf
      Catl Details - (773) 297-6519 - Voice...continud

      On At                      To/From                  Destlnatlon              Rate        Mins                Gost


               08:48       am    (217)   557-6643         lnclming                             01   $0



               09:,16      am
                        (708) 921-8255 lncoming
               09:47am (773) 746-034i1 CHICAGO,IL                                              0'l:00
               09:49ani (773)746-03.{3 lncoming                                    AU'         0200
               1013 am (708) s10-0s64 CHICAGOHTS,IL                                AU          07:0C

               :Ils31_..*999!?tg!!__                     .qufMrr,rl {u                         02:00
               q                                                                                                  *::
               01:58       pm    (708)   96+8850 lncoming                          AU          08:00
               02:12 pm     __   (708) e64-8q_s!.__.__    rtll-cAq9u9_&."          ry          12:00
               0224        pm    (866)   316-2432        Toll Free     Call   -*   AU          01:00

               9919m_            f73)34+6s93.             CHICAGO,IL               AU
               02:51       pm    (773)   708-4468         CHICAGO,IL                           02:00

               99!!_pL__ (z1146!!19__._9!19A99-&,__ _Au                                        01:00

               !1,1 0_!,'t___gi!) l46f_319*_ cllcAG9_JL_.
               06:07pm (773)979-1915                      lncornirig
               06ls        pm    (773)   746-034i,        CHICAGO,IL
                                                                                          .,   i2"i9     .__".__..._..   -.:
                  pm (773)746-0343 CHICAGO,IL
               09:56                                                               NWAU        01:00
      Nov 23 0711 am (773) 746-0343 lncoming                                       AU          01 O0
                                                                                               01:00

               9_9j93r_ (198]j1!-659?_-_J4-q!8!qE,!                      !                     01:00
               1 1   :59   am    (708)   574-6532         LA GBANGE,IL             AU          01   s0
               12:17pm (708)574-6532                      LAGRANGE,IL                          01:00
               l2l8 pm (708)574-6532 lncoming                                                  0200
               q2.!9!LlZZ9Iqq40_s9_ lncoming                                                   01 :00
               orse d- Ltfu) s6r-4osr-* l"-*i''-i.s ---*-                                      01   s0
               0320 pm (23) 746-0343 CHICAGO,IL                                                01tro
               03:22       pm    (77g) 746-0343           lncnming       __        AU          02s0
               04:00       pm    (773)   766-455S         CHICAGO,IL
                   pm (rrc) 766-4559
               05:12                                      CHICAGO,IL                           02:00
                   pm (708) 574-4197
               05:42                                      LA GMNGE,IL              AU          01:00
      Nov 24   09:35am (708)921-8255                      lncoming                 AU          06:00
                                         j1tSg."--"-.S.914lt9EJ.L                              01 :00
               1q:9e*1*"--(70:.)
               11-Ly __ _ly 91-:03!?_,_ gHlcAGqJL                                  AU          03:00

               1l :31..?I'_i€.9.ru1!_9?11_.___ ell9lg9rll
               11:44       am    (815)   341-7949         JOLIET,IL
               12:30       pm    .q981
                                         7?6f2sq   .      foFEsr,fl:               AU          01:00
               g,!!!r_-g18lzqg9?____.!erys                                         AU          0l:00
               12:31pm (708)574-4197                      LAGBANGE,IL                          0'i:00
               iii C+ J*    --lizsiilorilt               -cHicAGci:ia
                                                                                               01:00

               91isl.P--.-(1Q.7Si.!43-----.-c-t119"49-o.:ll                        AU          01 :00
               02:20       pm    (773)   746-03€          lncoming

               91lg?I".._.-.ilzs)1q9_q1.q ._-_,9l1919_o.]l                         AU
               0416        pm    (ZB)    746-034i,        CHICAGO,IL                           0t:00
               04l8pm            (224)336-2030            NORTHBROOKIL                         02:00

               9_M!n'___g!9)!1t-41.e-1--..._L4'q$[9E&.-                            AU          04:00
               05:09       pm    (312)   824-9919         CHICAGO,IL

               9!:99-!r!r-g-?--31!98-9193_-__q9rye_'*                                                                                             Rate Type
               05:15       pm  824-9919
                                 (312)                    CHICAGO,IL               AU          06:00
                                                                                                                                                  AL, Anytime/Plan Usage
                0s:24 pm (773) 746-0343                   CHICAGO,IL               AU          01:00
                                                                                               01 :00
                                                                                                                                                  6ul   Caliwahing
                9!.i19fl ...__.t1t9l.l_49:_091t__."_9ill9l9.9ll
                05:33      pm    (773)746-0343            lncoming                             0600                                               FItt, Nighi and Weekends


      Call Details- (773) 297-6519 - Voioe cantinues...
                Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 70 of 78 PageID #:263


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-.   Sprinf
                                                                                                                                        Account N u mb en 1 521 27 837
                                                                                                                                        Bill Period: Nov 03 - Dec02,2017




 ,   Call Details - (773) 297-6519 - Voice ...continud

     0m At                       To / From                Destination                  Rate              tillns               Gost
                02:38 pm       971-0429 CHICAGO,|L
                                 (23)                                                                    01:00
                02:,13 pm O08) 953-7999 tncoming
                93jE!9._ (?3)544-sslt___9ltMqg!L_                                      AU
                03:01 pm (Zg) 544-5912 lncoming                                        AU
                03:17pm f/O8) 921-8255 lncoming                                        AU
                04:00pm (708) 953-7939 lncoming                                        AU                01   00
                0428 pm (773) 746-0343 lncoming                                        AU                01:00
                0530 pm (708) 953-7€9S HARVEY,IL                                       AU                0'l:00
                05:45pm      ,   (708)953-7999            HARVEY,IL                                      01   30
                05:45   pm      953-7999 lncoming
                                 (708)                                                 CW/AU             01   {)0
                06:05 pm (773) 808-4174 lncoming                                       AU                01   00
                06:43 pm , (23) 4'12-1558 lncoming                                                       02:00
                os:v  pm         (70s) 574€532 LA GRANGE,IL                            I\M/AU            01:00
                09:48 pm         f708) 574:6532 LA GMNGE,IL                            NWAU              01:00
                10:01 pri        frc) 746-034il CHICAGO,IL                                               01:00
                10:02   pm       (Zg) 746-03{l CHICAGO,IL                              NW/AU             01:00
     Nov   28   07:51 am         00e) 921-8255 SUMMIT,IL                                                 01   00
                10:46 bm         (205) 413-3083 lncoming                               AU
                10:52   am       (610) 952-5318 lnclming                               AU                0l:00
                11:29am (708)986-5301 BLUEISLAND,IL                                    AU                01   s0
                11:39 am                   57+4197        I.A GRANGE,IL                                  01:00
                                                                                                         01:00
                12;19                                     Toil                                           0'!:00
                12:19 pm                                  .Toli Fiee'Gdit:'   r



                12:19 pm                                                                                 0ts0                      :
                                                          Tol[ Free Call                                 01   00
                L?3lp_[..:__(88-9l91lge_._D[liqe._c_{r.__
                                                                                                         02:00
                9!t9r:1-         _oo,e-l   {l-0!11___U           9BAI!9E,1-!
                .031-z.eg_*fsQ.9!q-!991_-_,_!!qE!9LA!!.D,!L                            AU
                04:24 pm (S12rn4-4912 lncoming
                04:30 pm (773) 344-6962 lncoming   AU                                                    01:00
                04:54 pm (rrc) 344-6962 CHICAGO,|L AU                                                    02:00
                04:57!m           (708)93L82E__-__s9!Ulr,L
                                                                                       l!--.__".--_ oli19-._- ____:
                05:02 pm          (773t544-6962            lncoming                    AU                01:00
                05:04 pm          (708) 921-8255

                9.6.slp.'"_
                07:31   pm
                                  t?.9:) 49:9!_14_
                                  (773)746-0343
                                                     _    CHICAGO,IL
                                                           CHIOAGO,IL
                                                                                                         01:00
                                                                                                         01:00
                07:32 pm (779t746-0343
                            'S'746:m4t-= CHICAGO,IL                                    AU                ol:qg
     Nov 29     08:10am (773)746-0343 lncoming                                         iru               01:00
                08:16am (708)224-6879 BLUEISLAND,IL                                    AU
                08:37 am (312) 296-6799 CHICAGO,IL                                                       03:00


                08:54   am        f/73)    746-0343 CHICAGO,IL                         AU                0'l:00
                9-1i€:r_--991_181.S.1-."_.93!1I91"q9:lL- ---__AU*,'.* _--,.                             _0.:1.'90_   _.___ -.:
                9-8i9-q-1t--g-0p-1q1$-2.I--___,[gr[o--.
                                                              jL._         ______...            .__ _. ",9]:9-0_. __._...-"._:
                qq{.] 39.---919)-5it119?-"---]ry9Tr,s-.-'.---'                         4q___-*- _.. -q.0i,___*_-_:
                                                                                   -
                99:qkr-.-_123I1}.9111_iqorl!g_                                                           01:00
                09:06am (708)600-3525 LAGRANGE,IL                                                        03:00
                oglt ?[_etl3-1]:79_€__.*_!99nte___._.-*__- _                                                         __-_*-__-
                                                                                       _4-u__-.--_-..,_0_1,00                                              RateType
                99:14
                        am        (708)    5-32-0937       lncoming                    AU                0gf0
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                                                                                       AU_
                99,29sL--o0!l3rl:-6-q7-9 -rrgriLq."..-_.--."...--.4.y--                                  9!:-99_ _-._....._":
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                99j19_qr--__g!913319919_-*            .   _p!:-u_E_L-s-gI?:L
                to:s3,.am. {zd'ei-s_rg€._t                                                                                                                NW Night and Weekends
                                                     ___ilil'ltr-__.*_.-_E_l___..:_*                                 :'." __._ __._..

     Catt Details - (77g) 297-651g - Voice continues...
               Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 71 of 78 PageID #:264

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                                                            Contact Us                                                          ':9..gf;$i,
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    W                                                                                fu
                                                            sprint.com/contactus          1-888-211-4727                       ',                    iri tsztztaet
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                                                                                          (2fromyourSprintPhone)           l
                                                                                                                                ',Uu    P'*A;:titi'oe'-.l"nid,iior
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u   Spninf


     Last Bill                                                 This        BiXl                                         Total Amount Bue

     Previous Total Due                       $170.01          Account Charges                          $18.84

     Payments - Thankyou!                    .$341.01          Plans & Equipment                      $137.09

     Balance Fonrvard                      -$171.00            Sprini Surcharges
                                                                                                                         f,-et's talt<
                                                               Government Taxes & Fees                     $6.31         about this biil
                                                                                                                         Visit www.sprini.corn for a complete view of
                                                               Total Charges this Bill               $172.18             account activity.




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    ffi   Puy Online              (*
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                                        P.y by Fhone                      ffi    p.yuimuir

                                                                                                                        ryHW
          spnnt.com/myspnnt             1-800-784-2608                           Return the form below wiih
                                    .   ("3from yourSprint Phone)                a check payable to: Sprint


    Please see tlle News and Notices section on page 2 ior important information and changes to Sprinfs
    policies.                                                                                                                        Nov                        Dec         This month




                                                                                                                     Detach and return this remittance form with your payment
          Po Box 629023 El Dorado Hills, CA 95762
                                                                 EIilryE                                                                                 .t
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          P0 Box 4191
          Carol Stream, IL        60'197-4191




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             Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 72 of 78 PageID #:265


                                                                                              AE of 22
                                                                                              Account Number: 1 521 27 837
                                                                                              Bill Period: Dec 03 - Jan 02, 2018


Sprint

Call Details - (773) 297-6519 - Voice ...continued

on       At                 To/From             Destination       Rate   Mins      Cosl
         10:51 am W3)676-4367                   CHICAGO,IL        AU     05:0O
         11:06am (/08)595-5527                  lncoming          AU     02:0O
         1l:34 am O08) 595-5527                 LA GMNGE,IL       AtJ    02:00
         t l:37an           (773\7464343        CHICAGO,IL        AU     01:00
         12:26 pm           O08) 465-0s78       oAK FOR SO,|L     AU     01:00
         12:44pm            (708)200:1588       LAGRANGEJL        AU     03s0
         0122     pm (773)746-0343              CHICAGO,IL        AU     03:00
         01:27 pm           O73) 344-6962       CHICAGO,IL        AU     01 :00

         01:32 pm           WqgA2-1716                            AU     04s0
         02:02 pm         440-0651 CHlcAGo,lL
                            (7/3)                 AU                     01:00
         02:05     pm     494:6585 CHICAGO,IL
                            (773)                 AU                     02:00
      02:15 pm (847) 470-2508. SKOKIE,IL          AU                     03:00
      02:15 pm l77q302:|716 lncoming              CWAU                   08:00
      02:35pm (678)416-6362 lncoming              AU                     01:00
      02:36 pm     (678) 416-6362 NEWNAN,GA       AU                     04:00.
      02:53 pm     (678) 416-6362 lncoriring      AU                     01:00
      03:00 pm     (678) 416-6362 NEWNAN,GA       AU                     02:00
      03:07 pm     (773) 746-034iI CHICAGO,IL     AU                     02:00
       03109 pm    (773) 302-1716 CHICAGO,IL      AU                     01:00
       03:10 pm    (773)746-0343 lncoming         AU                     03:00
       03:13 pm    O08) 455-0578 lncoming         AU                     02:00
       04:53 pin   (708) 595-5527 LA GHANGEJL     AU                     0l:00
       04:54 pm    (773) 746-0343 CHICAGO,IL      AU                     02:00
       04:58 pm    (708) 574€532 LA GMNGE,IL      AU                     02:00
       05:01 pm (n3r7444378 CHICAGO,IL            AU                     01:00
       0s:04 pm     (708) 574i6532 LA GRANGE,IL   AU                     01:00
       05:07 pm , (773)302-1716 CHICAGO,IL        AU                     01:00
       0520 pin (773) 507:5301 lncoming           AU                     02:00            -
       05:32 pm     (773) 302-1716 lncoming       AU                     01:00
       06:58 pm     (708) 574€532 LA GRANGE,IL    AU                     02:00
       07:00 pm     C708) 574-6532 lncoming        AU                    01:O0
        08i40,pm (708) 57+6532 LA GRANGE,IL        AU                    02:00
 Dec05 07141 am (770)789-8416 ATLANTANE,GA AU                            02:00
        08:12 am    (773) 507-5301 lncoming        AU                    02:00
        08:31 am    (770)789-8416 ATLANTANE,GA AU                         01:00
        08:44 aiir   (773) 302-1716 CHICAGO,IL     AU                     12:00           -
        09:06 am            302-1716 CHICAGO,|L    AU                     01:00
        09:20 am - (773)746-0343 CHICAGO,IL        AU                     01:00
        09:21 am     (708)481-8063 OAK FOH SO,IL   AU                     O'l:00
        09:21 am     (/08) 381-8063 OAKFORSO,IL    AU                     01:00
        09:23 am     {773)746-0343 CHICAGO,IL      AU                     02:00
        09:25 am     O73) 746-0343 CHICAGO,IL      AU                     03:00           -
        09:32 am     (708) 465-0578 OAK FOR SO,IL  AU                     01:00           -
        09:39 am      (708) 465-0578 Incoming      AU                     0l:O0
         09:53 am     (773) 469-7670 lncoming      AU                     01:00
         10:02 am     (773) 746-0343 CHICAGO,IL    ,ALi                   02:00
         10:45 am     (773\746-A3$ CHICAGO,IL      AU                     02:00
         11:31 am     (708)277-3829 lncoming                              04:00
                                    789-841 6                             06:00
           11    :50                925-2589     Toll Free Call           03:00
           1'1   :53 am             925-258S     Toll Free Call
                                                                                                                   Rate TyPe
           1i:55a;n''(888)92s-2589                                        08:00
                       pm    (800) 712-6600
                                                                                                                   AU   Anytime/Plan Usage
           12:02                                 Toll Free Call     AU    01 :00

           12:03 pm                 s25-2559     Toll Free Call     AU    '19:00                                   CW CallWaiting


  Call Details - (773) 297-6519 - Voice continues...
           Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 73 of 78 PageID #:266


                                                          Contact Us                                                        1of 5
                                                     Ei   sprint com/contactus   \   1-888-211-4727                          Account Numb er i 1 521 27 837
                                                                                     (*2 from your Sprint Phone)           . Blll Period: Feq,qa ; Uir:o2,rzote
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  E-ast     Bill                                          i rhls eilr                                                  Total Amounrt Due
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  Previous Total Due                           $'173.36   I   AccountCharges                       $18.84
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  Payment on 02/18 - Thank                    -$'174.00   I Plans
                                                               & Equipment                        $r37.09
  youl                                                    I.__---_
                                                          I Sprint Premium SeMces                    $9.9e
                                                                                                                       [-et's talEr
  Balance Forward                              -$0"64     I ..-----:--
                                                          I sprint surcharges                        $9.e4             about this bill
                                                          I GovernmentTaxes&Fees                     $6.31
                                                                                                                       Visit www.sprlnt.com          br    a compleio view         of
                                                          I                                                            account activity.

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                                      PaybyFhono
                                      1   -800-784-2608
                                      (*3 from your Sprint Phone)
                                                                      ffi   PaybyMall
                                                                            Return the form belowwith
                                                                            a check payable to; Sprint


Please see tlle News and Notices section on page 2 for important information and changes to Sprint's
policies.
                                                                                                                      wwry   ffi
                                                                                                                                                                           This month




     PO Box 629023 El Dorado Hills, CA 95762                                                                    Detach and return this remittance forrh with your payment.
                 .€                                            EIil*EI
                                                               ffi
                                                                                                         Make checks payable to Sprint in U.S. dollars. DO NOT SEND CASH.
                                                                                                                                               Account Number 1 52121837
                            "
     sprlntp                                                  Scan to pay        Amount Due hy            tutrar      26


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     P0 Box 4191
     Caro} Stream,      rL      60197-4191




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                 Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 74 of 78 PageID #:267




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                                                                                                                                                           Account Nurnber:'152127837
                                                                                                                                                           Bili Periodr Feb 03 - Mar02, 2018

Sprinf
cafi Details - (773) 297-6519 - Voice ...continued

Osl        At                       To / From                  Dest!nation                                Rate                 MIns                 eost
           10100      am            (630) 450-4881             lncoming                                   /qU                  03:00
           10:03      am            (7Og) 57+4157              LA GRANGE,IL                                                    0300
           19:0s      cl__lryIeiEE__=                         .gLE4Ery+IEtiL                                                   01:00
           10'9n:1,.--l1E)*r9!S1..".-.---clli9l99il!                                                                           1600
           10:22am . (708)5s$5527
                                    .-__!tggl1B___                                    ,                   CWAU                 01 :00

           l_qi21:s___.99!)Is5-83I-__._._Ss!fl tqE...!!-                                                                       03:00
           .i9:-3g9rn_"lqgls72-98.86__...cHl_c19-oj!-L*_.                                                 AU                   !?.,-o!--'    ..
           10:41      am            (708)
                                            !!9165!!    _      lncomins                                                        12S0
           1128ah                                              ln6oming                                                        05:00
                                                                                                                                             --s_
                                    1seO1,iaO-e+az                                                        AI.J
           l1:30 am (708) 5744197 lncoming                                                                                     01:00

           -i-1'393I--(08LZ11E1- ...-.$"-qlll!9Frl!,..___-{u- _.                                                               01 :00

           i1!l =I__g?0)_C1-!L!9'.- lncoming             AU                                                                    0400
           Ll.f  am
                    "__91!197s:35e1._         JoLIEr,tL  AU                                                                    02:00

           ltq_al!__ joe)sf f.11.97_.._......!rySmr'_s-_
           12:01 pm (779) 875-3594 JOLIET,IL             AU                                                                    01:00
           E.01eIl__]?.9E]}!994 .__.I's'ilg_._.--___.__49                                                                      01:00
           94j!___W3)v!V4_ lncomins AU                                                                                         -!1",99-.-.   ...   . _.
           g$9!I___.gm)_q!s.!ry_ lnctmins
           glrg![jg_t_rgtz919:_        --" -T---
                                             AU                                                                                0200
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           qglr.L_191it!-:999g___-**,9*_"...,"!*,_:::t-__:__                                                                   01:00
           9!39-P!1---ej!a!2199!9--,                         AU                                                                02:00
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           9-3jrs!L-.819)!I197!.5-._- __lletulc.___ _"*..-.__9y{t9,                                               _   _        02:00
           g3jg9      p'___lp9iz$53?.,__**{s!$gllL                                                        AU                   01:00
           9L29!._973).302-1                    71   6_.    ....rlco'T1lg
           9Mpr__l"itgyt!                                     CHICAGO,IL                                  AU                   01:00
           04:25pm (727)499-848s CLEARWATER,FL                                                            AU                   04:00
           04:34pm (708)710-5878 LAGRANGE,TL                                                              AU                  O!:00
           0-1ff      rs_ : . {27-1_-a10i_9!t .._ . _g[!g_tg-o-             t 1..   ..., "._ 4]                                01   f0
           05:05       pm (847) 312-4517 lncoming                                                                             _91iqg
       '   g}:l_ojq_ _._qgr)i12-.qqg1 ._ _lryI!,Li_*                                                                           06:00
                                                                                 ._.""-.._.-_
           q5:19!.T__L?_qEs ?:g!54 __-gll!g$-q:!!                                                                              01:00
           0-63.3!I_ _C/7Q140-0q1_                             lncomins                                   AU                   07:00
           06:36      pm            (773)   746-0343          CHICAGO,TL                                                       01:00
           07:00      pm            (7731676-4367             CHICAGO,|L                                                       01:00
           07:04pm (773)676-4367                               incoming                                                        08:00
_" " .....01j3_w-_              _97.4-ss1!ggr           .__   _llggnlls
                                                    -- 4!,_..._.._.         _ .. ... ".... .          _                   _ .g-'gq       -
Feb22 9_$:99-:r--:s-ll99.17-tqsg_._._-l!9-ojll!g__-.-.                                                    NWAU               0s;00
           06{3       am                    574-6532 lncoming                                             NWAU
                                    (708)
           t?rA;---(?rij6tlii6*---cilrcAeo,rl*--"' aU--:'---
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                        (zzs) 3oz--!fll CHICAGo,IL AU                                                                          0s:00
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           99:1+-gl---.-q7s)119-9qfl.., cHlcAGo,lL AU
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           '10:35     am            (77g)   875:3594 JOLIET,|L                                            aU
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           L:Eq-e!..
           I   l:29   am -=(.7:09_4s.1.g-29!
                             (779) 875-3594
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                                                              JOLIET,IL
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           t_-2..91sl
           12:58
                        _-999_q1lt9l-- -_"Be_ri!s.-*_
                      pm (312)774-4912    CHICAGO,IL
                                                      ..                             -                _jg_
                                                                                                          AU                   01   00
                                                                                                                                                                             Bate Tylle
                                                                                                                                                                             AU Anylime/Plan    Usage
           919L!r""-IIA93:9"!L9-....-.911919-0-,!!'"", _-lL_                                                                   01:00
                                                                                                                               01:00:                                         CW GallWaiting
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Cal! Details - Q73) 297-6519 - Voice continues...
Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 75 of 78 PageID #:268




           Offi"e of the Secretary of State J"ss. Wtrite
                                       COM



Corporation/LLC Search/Certificate of Good Standing

LLC File Detail Report



  File           00540846
  Number

  Entity         NATI ONSTAR MORTGAGE LLC
  Name

  Status         ACTIVE




  Entity lnformation


  Principal Office
  8950 CYPRESS WATERS BLVD.,
  DALLAS, TX 75019

  Entity Type
  LLC

  Type of LLC
  Foreign

  Organization/Admission Date
  wedneldlv,-t t enrlt zooL

  Jurisdiction
  DE


  Duration
  Friday, 31 December 2100
    Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 76 of 78 PageID #:269




:

i
      Ag"nt tntor*.tion
i--


      Name
i     lLLlN0lS CORPORATION SERVICE   C
1----
I

;     Address
:     AOt ADLAI STEVENSON DRIVE
;     SPRINGFIELD , lL 62703

i     Change Date
i     friOay, 31 october 2003




      Annual Report

                                                                                    I
      For Year
      2019

      Filing Date




      ,|tanl0ers

      Name
      Address
        BRAYJAY
      8950 CYPRESS WATERS BLVD
      DALLAS, TX 7501 9

        Name
      Address
        MARSHALL,CHRISTOPHER
        8950 CYPRESS WATERS BLVD
        DA:11s, rx 750].e




        Assumed Name


        ACTIVE
        MR. COOPER
               Case: 1:19-cv-07870 Document #: 19 Filed: 02/05/20 Page 77 of 78 PageID #:270




           :   ACTIVE
           :   GREENLIGHT LOANS

           :   ACTIVE
           ;   CHAUPION MORTGAGE COMPANY
           !- ^ -.,.
           i   INACTIVE
           i   CENTEX HOME EQUITY COMPANY




           ,    Old LLC Name

           i


           i    06/30/2006
           r    CENTEX HOME EQUITY COMPANY LLC



j.
           I
               Series Name


           i    N0T AUTHORIZED TO ESTABLISH SERIES




                Return to Search


                File Annual Report
                Adopting Assumed Name
                Articles of Amendment Effecting A Name Change
                Change of Registered Agent and/or Registered Office


                                                                                                             (One Certifrcate per Transaction)




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                                    Certificate of Service

 I do hereby certiff that I have on February 5th,2020 served a copy of the foregoing
 PLAINTIFF'S FIRST AMENDED COMPLAINT which has been filed with the Clerk
 of the United States District Court for the Northern District of Illinois.




 Nationstar Mortgage LLCD/BlA Mr. Cooper
 8950 Cypress Waters Boulevard
 Coppell, TX 75019

 Dykema Gossett PLLC ClOHarry N. Arger
 10 S. Wacker Drive Suite 2300
 Chicago,IL 60606




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                                                        Phone(773)-297 -6519
